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 2 Eastern District of Washington
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 6
 7
 8                      UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF WASHINGTON

10
     In Re The Matter of:
11                                                        CASE NO. 4:21-cv-5067
12      United States’ Petition
        for Summary Enforcement and Costs                 DECLARATION OF
13      Re: Civil Investigative Demand                    DANIEL HUGO FRUCHTER
14      No. EDWA 21-004 and EDWA 21-005                   IN SUPPORT OF
                                                          UNITED STATES’ PETITION
15                                                        FOR SUMMARY
16                                                        ENFORCEMENT AND COSTS
                                                          RE: CIVIL INVESTIGATIVE
17                                                        DEMAND Nos. EDWA 21-004
18                                                        and EDWA 21-005
19
                    Declaration of Daniel Hugo Fruchter in Support of
20
            the United States’ Petition for Summary Enforcement and Costs
21       Re: Civil Investigative Demand Nos. EDWA 21-004 and EDWA 21-005
22         I, Daniel Hugo Fruchter, declare as follows:
23         1.    I am an Assistant United States Attorney (AUSA) with the United States
24 Attorney’s Office for the Eastern District of Washington and counsel for the United
25 States in the above-captioned matter. I have worked as a Department of Justice
26 attorney for over twelve years and during that time have focused almost exclusively on
27 criminal and civil fraud cases including the investigation and prosecution of suspected
28 False Claims Act violations. I submit this declaration in support of the United States’
     Declaration of Daniel Hugo Fruchter in Support of United States’ Petition for
     Summary Enforcement and Costs - 1
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 1 Petition for Summary Enforcment and Costs Re: Civil Investigative Demand Nos.
 2 EDWA 21-004 and EDWA 21-005.
 3            2.    I am familiar with this case as one of the assigned AUSAs to the False
 4 Claims Act investigation of Respondents Sunrhys, LLC and Elyssa Young. The
 5 statements herein are based on my personal knowledge.
 6            3.    Attached hereto are true and accurate copies of the following:
 7                  - Exhibit 1: Civil Investigative Demand No. EDWA 21-004 issued to
 8                      Sunrhys, LLC;
 9                  - Exhibit 2: Civil Investigative Demand No. EDWA 21-005 issued to
10                      Elyssa Young1
11                  - Exhibit 3:Transcript of sworn testimony of United States Department
12                      of Veterans Affairs (VA) Office of Inspector General Special Agent
13                      David Huntoon dated April 21, 2021;
14                  - Exhibit 4: Invoice from Central Court Reporting for appearance on
15                      April 21, 2021.
16          ISSUANCE AND SERVICE OF CID Nos. EDWA 21-004 and EDWA 21-005
17            4.    On March 29, 2021, the Acting United States Attorney for the Eastern
18 District of Washington issued CID Nos. EDWA 21-004 and EDWA 21-005 (herein
19 also referred to as “the CIDs”) to Respondents Sunrhys, LLC, and Elyssa Young. The
20 CIDs are attached hereto as Exhibits 1 and 2. The CIDs were issued in connection with
21 the False Claims Act investigation of Respondents regarding allegations that they
22 knowingly submitted and caused to be submitted false and fraudulent claims for
23 reimbursement of federal VA Support Housing (VASH) housing support payments in
24 their capacity as a landlord participant in the VASH program.
25            5.    The CIDs were personally served on Respondents on April 14, 2021, by
26
27
     1
         Exhibits 1 and 2 hereto are also Exhibit 1 and Exhibit 2 as referenced in the

28 transcript of Special Agent Huntoon’s testimony, attached hereto as Exhibit 3.
         Declaration of Daniel Hugo Fruchter in Support of United States’ Petition for
         Summary Enforcement and Costs - 2
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 1 Special Agent David Huntoon of the VA OIG. (Exhibit 3, 11:2-14:2).
 2         6.    The CIDs required that Respondents “give oral testimony under oath,
 3 commencing seven (7) days from the date of receipt of this Demand, at 9:00 a.m., at
 4 the United States Attorney’s Office for the Eastern District of Washington, 920 W.
 5 Riverside Ave., Spokane, Washington 99201 . . . .” (Exhibits 1 and 2).
 6         7.    Based on the April 14, 2021, day of service, seven days from
 7 Respondents’ receipt of the CIDs was April 21, 2021.
 8         8.    When Special Agent Huntoon personally served Respondents on April 14,
 9 2021, he explicitly told Respondents that, pursuant to the CIDs, Respondents were both
10 required to appear in Spokane, Washington, as directed by the CID, within 7 days. (See
11 Exhibit 3, 11:2-12:7). Respondent Elyssa Young, an owner, executive officer, and
12 registered governor of Sunrhys, LLC, indicated that she understood her obligation, both
13 individually and on behalf of Sunrhys, LLC. (Id. 11:2-11:10). At no time did Ms.
14 Young express any confusion as to the clear direction explicitly stated in the CIDs
15 regarding the date, time, and location of the required oral testimony. (Id. 11:2-14:2).
16         9.    Special Agent Huntoon further pointed Ms. Young to the contact
17 information of undersigned counsel located on the CIDs, and explicitly informed her
18 that if she had any difficulty appearing as directed, or wished to reschedule the
19 testimony, that she should contact undersigned counsel at the United States Attorney’s
20 Office and that undersigned counsel would work with her and with Sunrhys, LLC in
21 that regard. (Id. 11:2-11:10, 12:2-12:17).
22         10.   At no time did Respondent Elyssa Young or Respondent Sunrhys, LLC,
23 request rescheduling the CID testimony, indicate that either respondent was
24 unavailable on April 21, 2021, express any confusion or uncertainty regarding the
25 obligation of both Respondents to appear on April 21, 2021, or contact the United
26 States regarding the compelled CID testimony of either respondent. (Id. 11:2-14:2).
27         11.   As a result of Respondents’ failure to appear as directed by the CIDs to
28 provide oral testimony under oath, and Responents’ lack of any notice that they would
     Declaration of Daniel Hugo Fruchter in Support of United States’ Petition for
     Summary Enforcement and Costs - 3
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 1 not appear as directed, the United States incurred a total of $240.35 in costs from
 2 Central Court Reporting. (Exhibit 4). This does not include any costs associated with
 3 counsel for the United States or their support staff in appearing on April 21, 2021, or
 4 in preparing this petition or supporting materials.
 5        12.    At the time of this filing, neither Respondent Elyssa Young nor
 6 Respondent Sunrhys, LLC have contacted undersigned counsel or the United States
 7 regarding their failure to appear as directed.
 8               GROUNDS FOR ENFORCING CID No. EDWA 21-002
 9        13.    Respondent Elyssa Young and Respondent Sunrhys, LLC did not, and
10 have not, moved or requested to modify, quash, or set aside the CIDs, nor lodged any
11 objection thereto.
12        14.    The United States’ investigation concerns allegations that Respondents
13 submitted and/or caused to be submitted false claims for VASH housing support
14 payments in violation of material program requirements, including the critical
15 requirement that Respondents not receive any payments or other consideration from
16 the tenant in addition to, or in excess of, the agreed-upon rental payment amount.
17        15.    More specifically, the investigation concerns allegations that Respondents
18 falsely and fraudulently claimed and received over $7,500 in federally-funded housing
19 support payments, in part by improperly overcharging Respondents’ tenant by over
20 $1,000 during the course of the lease agreement between Respondents and the tenant
21 and by falsely certifying compliance with program requirements.
22        16.    The CIDs call for Respondents Sunrhys LLC and Elyssa Young to provide
23 oral testimony under oath on four enumerated topics, all of which are relevant and
24 material to the investigation of the alleged False Claims Act violations committed by
25 Respondents: (1) claims for reimbursement of federal VASH funding; (2)
26 communications with tenants, government entities and employees, and any other
27 persons or entities concerning VASH funding or the subject property; (3)
28 Respondents’ understanding of, and efforts to comply with, applicable program
     Declaration of Daniel Hugo Fruchter in Support of United States’ Petition for
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 1 requirements and relevant contractual obligations; and (4) rent payments made by the
 2 tenants with regard to the subject property. The CIDs also call for the production of
 3 documentary material and responses to certain interrogatories concerning those same
 4 topics. Exhibits 1 and 2.
 5         17.   These areas of inquiry and requests are highly relevant and material to any
 6 determination of whether or not Respondents violated the False Claims Act by falsely
 7 and/or fraudulently claiming VASH funding in violation of program requirements and
 8 legal obligations.
 9         18.    The United States’ investigation is ongoing and the United States has not
10 made any determination regarding Respondents’ potential False Claims Act liability or
11 commenced any civil action in connection with this investigation, which remains
12 ongoing.
13         19.   The information sought by the CIDs and the four identified oral testimony
14 topics are directly relevant and material to these allegations and to the United States’
15 investigation and consideration of Respondents’ potential False Claims Act liability.
16                           GROUNDS FOR IMPOSING COSTS
17        20.    I am aware of no time prior to, or even on April 21, 2021, in which
18 Respondents made any request to the United States Attorney’s Office for the Eastern
19 District of Washington, the assigned case agent with VA OIG, or anyone for the
20 government associated with this investigation, for an alternate date, time, or location
21 in which to provide oral testimony under oath pursuant to the CID. To the contrary,
22 when served with the CIDs, Ms. Young indicated that she understood her individual
23 obligation, and Sunrhys LLC’s obligation, to provide oral testimony on the date and
24 time, and at the location, directed, and further indicated that she understood whom she
25 was to contact with any questions or concerns regarding the date, time, or location, or
26 otherwise. (Exhibit 3, 11:2-11:10).
27        21.    At no time that I am aware of did either Respondent make any objection
28 to the United States Attorney’s Office for the Eastern District of Washington, the
     Declaration of Daniel Hugo Fruchter in Support of United States’ Petition for
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1 assigned case agent with VA OIG, or anyone for the government associated with this
2 investigation, regarding the enforceability of either CID.
3        22.    At no time that I am aware of did either Respondent inform the United
4 States Attorney’s Office for the Eastern District of Washington, the assigned case agent
5 with VA OIG, or anyone for the government associated with this investigation, that
6 they would not be appearing to provide oral testimony under oath on April 21, 2021,
7 as required by the CID.
8      I declare under penalty of perjury that the foregoing is true and correct.
9
10     Executed this 23rd day of April, 2021, at Spokane, Washington.
11
12
                                           ____________________________
13                                         Dan Fruchter
                                           Assistant U.S. Attorney
14
                                           Eastern District of Washington
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28
     Declaration of Daniel Hugo Fruchter in Support of United States’ Petition for
     Summary Enforcement and Costs - 6
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                         EXHIBIT 1
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Civil Investigative Demand-Oral Testimony/Interrogatory Responses/Document Requests


          United States Attorney's Office for the
              Eastern District of Washington
                                        Spokane, WA 99201


 TO:   Sunrhys, LLC                                    Civil Investigative Demand EDWA 2l-004
       2522N. Proctor St. #524
       Tacoma, Washington 98406



       This Civil Investigative Demand is issued pursuant to the False Claims Act, 31 U.S.C.
5S 3729-3733, in the course of a False Claims Act investigation to determine whether there is or
has been a violation of 31 U.S.C. S 3729. The False Claims Act investigation concerns allegations
that Sunrhys, LLC (you or Sunrhys) have violated the False Claims Act, 3l U.S.C. $ 3729, by
knowingly submitting and causing to be submitted false claims, and making and using false
statements material to the payment of false claims. Specifically, the investigation concerns
allegations that between January 2079 and the present (hereinafter the "relevant time period"), you
knowingly overcharged your tenant in excess of the allowable and agreed-upon amount, and
falsely and fraudulently sought and obtained reimbursement of federal U.S. Department of
Housing and Urban Development-Veterans Affairs Support Housing (HUD-VASH) funding in
violation of program requirements for your property located at 3712 Mill Creek Road, Walla
Walla, Washington 99362 (The Mill Creek Road Property).

       This Demand requires you to provide oral testimony, documents, and answers to
interrogatories to the Federal Government. This is the original of the Demand; no copies have been
served on other parties. The information and documents provided in response to this Demand may
be shared, used, and disclosed as provided by   3l U.S.C.   $ 3733.

                                   A. Documentary Material
       You are required by this Demand to produce any and all documents in your possession,
custody or control responsive to the requests stated in Attachment A hereto.


       You must make this material available to Assistant United States Attorneys Dan Fruchter,
and Tyler Tornabene, who have been designated as False Claims Act custodians in this case.


       Unless otherwise stated, the relevant time period is from January 2019,to the present. The
                                                  1
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terms "document" and "documents" as used in this Civil Investigative Demand and any
attachment(s) are used in the broadest sense permitted by the Federal Rules of Civil procedure 26
 and 34 and include, but are not limited to, any written or electronically stored information. The
term "communication" should be interpreted by you in the broadest possible sense and means the
transmittal or exchange of information by any means, whether by chance or design, and includes,
but is not limited to, telephone conversations, conversations in meetings, letters, memoranda,
notes, telegraphic and telex communications, by face-to-face encounter, by regular mail or courier,
by telephone, or by other means of electronic communication, whether transmitted in interstate or
intrastate commerce.


        The General Instructions provided in Attachment A to this Civil Investigative Demand
shall govern your production of documents responsive to this Civil Investigative Demand. The
Specifications for Production of ESI and Digitized ("Scanned") Images (Attachment B) shall
further govern your production of all materials, including hard copies of documents and
electronically stored @SI) materials and digitized images, responsive to this Civil Investigative
Demand.


        These documents shall be produced no later than thirty (30) days from the receipt of this
Demand, at the United States Attorney's Office for the Eastem District of Washington, 920 W.
Riverside Ave., Room 340, Spokane, Washinglon99201. Mr. Fruchter and Mr. Tornabene can be
reached at (509) 353'2767. The production of documentary material in response to this Demand
must be made under a swom certificate in the form printed in this Demand.

                                B.      Interrogatorv ResDonses

       Unless otherwise stated, the relevant time period is from January 1,2019, to the present.
You are required by this Demand to answer the interrogatories stated in Attachment A hereto. The
answers to the interrogatories must be submitted no later than thirty (30) days from the receipt of
this Demand, to the United States Attomey's Office for the Eastern District of Washington, g20
W. Riverside Ave., Spokane, Washington 99201, or at such time and in such other place or manner
as may be agreed upon by Assistant United States Attorneys Dan Fruchter, Tyler Tomabene, and
you. The interrogatories shall be answered under oath and verified by you. If you object to any
interrogatory, the reasons for the objection shall be stated with specificity. The instructions set
forth in Attachment A will govern your answers.


                                      C.   Oral Testimony

        You are further required by this Demand to give oral testimony under oath, commencing
seyen (7) days from the date of receipt of this Demand, at 9:00 a.m.,atthe United States Afforney's
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Office for the Eastern District of Washington, 920
                                                     W' Riverside Ave'' Spokane' Washington
ggzrJl,or             and in such other place as may be agreed
                                                               upon by Mr' Fruchter and/or Mr'
         at such time
                                               stenographically and also may be recorded audio-
Tornabene and you. The testimony will be taken
visually.

        AUSAsDanFnrchterandTylerTomabeneareFalseClaimsActinvestigatorswhomay
conduct the examination, and the custodians
                                               to whom the transcript of the deposition will be
                                          at the oral examination are necessary to
                                                                                   the conduct of
delivered. your attendance and testimony
                                              above. you have the right to be accompanied
                                                                                           by an
the False claims Act investigation described
attorneyandanyotherpersonalrepresentativeattheoralexamination.

                                                               Demand is issued are to discover
       The general purposes for which this Civil Investigative
                                                    present, about claims for reimbursement of
your knowledge, between January l, zolg and the
                                              to the Mill creek Road Property'
HUD-VASH funding made by you with respect

        Specifically,youmustdesignatearesponsibleandknowledgeableindividualtoprovide
                                               of inquiry identified below:
 testimony on your behalf on the primary areas

                                                            funding with respect to the Mill
            1.    Your claims for reimbursement of HUD-VASH
 Creek Road ProPertY.

                                                                                            other
            2.    your communications with tenants, goverrlment entities and employees, and
 persons or entities concerning the   Mill   Creek Road Property'

                                                              program requirements, regulations,
            3. Your understanding of, efforts to comply with,
                                                                                          to the
                                          Payments (HAP) contract and lease with respect
 and the terms of the Housing Assistance
 Mill Creek Road ProPertY'
                                                           any tenants with respect to the   Mill creek
            4.     Rent payments to you by or on behalf of
  Road ProPertY.



            Issued at Spokane,




                                                             ing United St6tes AttorneY for the
                                                             tem District of Washington
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                Attachment A




                                       4
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         INSTRUCTIONSFoRCIVILINVESTIGATIVEDEMANDNo.EDWA2|-004

                A.DBrrxrTIoNSUsnonqrrmCrvrr-ITwBsTTGATIVEDEMAND
                                                             in the plural) shall apply:
        The following def,rnitions (both in the singular and

                                                            shall refer to Sunrhys'LLC' along with any
         1. The terms "you," "your," or "Sunrhys"
                                                                  parents, subsidiaries' related entities
and   all ofyour predecessors in interest, successors ininterest,
                                                                      properties' owners'     governors'
or organizations, brother or sister entities, affiliates, facilities,

employees, officers, agents, board members,
                                            or subsidiaries'


          z'Theterm..documents,,shallhavethesamemeaningassetforthinFederalRuleofCivil
                                                                    electronically stored
procedure 3a(aXlXA) and shall mean and refer to paper documents and

                                                          Committee Note to Rule 34(a) ("Rule
information, as that term is defined in the 2006 Advisory
                                              information that is stored electronically")' Paper
3a(a)0) is expansive and includes any type of

documents shall include, but not be limited
                                            to, correspondence' emails' communications' reports'
                                                                                     graphs' charts'
                                          agendas' minutes, resolutions' worksheets'
studies, memoranda, directives, policies,

                                            and photographic matter, sound recordings, however
 addenda and attachments, written, graphic,

                                                      including' butnotlimited to' all copies and
 produced orreproduced, of everykind and description,
                                                           or other alterations'
 drafts thereof that have annotation, notes, modifications

               .,communication,, shall mean the transmittal of information (in the form of facts' ideas'
          3.
 inquiries,orotherwise),andanydocumentsconcerningcommunications.

          4.   "Concerning"     or   "concerns" shall mean relating       to, referring to'    describing'


 evidencing, or constituting'
                                                       くυ
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                                                   B.INsrnucrroNs
      l'Production of Electronically stored Information.
                                                            The United states Attorney for the
 Eastem Diskict of washington hereby requests
                                                that you produce documents that are
                                                                                    maintained
 as electronically stored information in
                                         a logically unitized format. Logical unitization
                                                                                                                of
 documents requires you to ensure' among
                                         other things, that             a   particular document captures all of
 its respective pages and that document relationships,
                                                       such as a.,parent,, document (e.g.,
                                                                                             afax
 cover sheet) and "children" attachments (e.g.,
                                                a faxed letter and attachment to the
                                                                                     letter), are
 preserved' The United States Attomey forthe
                                                 EasternDistrictofwashingtonhereby incorporates
 by reference into these instructions and the civil
                                                           Investigative Demand, Attachment B,
 "Specifications for Production of ESI and
                                                    Digitized (,.scanned,,) Images (..production
specification")" requests that documents be produced
                                                         in accordance with those specifications
                                                                                                 or
in native format' except as specifically agreed
                                                to between you and the identified False
                                                                                        claims Act
custodian.

   2'   Privilege   Log' If you assert a privilege         regarding the production of any document,
                                                                                                     with
respect to each document to which the privilege
                                                is asserted, state the following:

        (a) the privilege claimed;

        (b) precise statement of the facts upon
                                                which the craim of privilege is based; and
        (c) the following information    as   to   each purportedly   privileged document:
             (i)    the nature of the docum ent, e.g., retter,
                                                               memorandum, photograph
                                                                                            , tape,erectronic
                    copy,ctc.;

             (ii)the date On which it was prepared;

             (lii)the idcntity Ofthe persOn by whOm it was preparcd;
                                                       6
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               (iv) the identity of   each person to whom it was delivered or sent; and

               (v)   the identity ofthe person or entity that presently has custody
                                                                                    or control ofsuch

                     document.

                                                                          be identif,red on the
   ln addition, any attachment to an allegedly priviteged document should
                                                                                         containing
privilege Log separately frorn the document to which it is attached' Moreover, an e-mail

                                                                text) should not be identified on the
a string of related e-mails (replies or forwarding the original
                                                                                            on the
privilege Log as a single document. Instead, each e-mail in the string should be identified

privilege Log separately with a notation indicating the previous e-mails it contains'

                                                                      production of the entire document'
    3.   Unless specifically stated so within, these requests require

                                                                     be accompanied by an index
    4.   Materials required by the Civil lnvestigative Demand should

                                                          or items of the civil Investigative Demand
identifying each document or other materials and the item

to which it refers'

                                          DOCI.II\4ENT REQUESTS

                                                                   made or submitted by you            of
         1.       Documents conceming any claims for reimbursement

                                                                to the Mill creek Road Property'
         HUD-VASH funding or other federal funding with respect
                                                                   external or intemal' concerning
         2.       Documents concerning any communications, whether

         the   Mill Creek Road Properly,      including, but not limited to, any communications with or

                                                                 local govemment entity' claim for
         concerning any tenant, rent payment, federal, state, or

          reimbursement, or agleement concerning the        Mill   Creek Road Property'

                                                                tenant or with any federal' state' oI
          3.         Documents conceming any agreement with any

                                                           Road Property'
          local govemment entity concerning the Mill Creek

          4.         Documents conceming your understanding of,
                                                                efforts          to comply with,   program
                                                        1
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             requirements, regulations, and the terms of the
                                                             Housing Assistance payments (rIAp) contract

             and lease with respect to the   Mill   Creek Road property.

             5'        Documents conceming any rent payments to you
                                                                    by or on behalf of any tenants with
         respect to the     Mill   Creek Road property.




                                              INTERROGATORIES


         1'        List each claim for reimbursement of federal, state,
                                                                        or local governments funds made
 by you with respect to the        Mil creek Road property, including:
                   a. The date any such claim was made or submitted;
                   b. The date of payment of any such claim;
                   c.    The means by which payment was made;

                   d. The amount claimed by you;
                  e. The amount paid;
                  f'    The agreement under which any such claim
                                                                 was submitted;

                  g-    The time period covered by or pertaining to
                                                                    any such craim.

       2'         List each rent payment made to yolr with respect to
                                                                      the Mill creek Road property,

including:

                  a.    The date ofpayment;

                  b.    The means by which payment was made;

                  c.    The amount paid;

                  d'   The agreement under which any such craim was submitted:
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                The time period covered by or pertaining to any such
                                                                     claim'
           e.




                                                9
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               Attachment B




                                   10
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   ′2θ ノ9
J″ ヮ



                 specifications for Production of ESI and Digitized ("scanned") Images
                                      (('Production Specifications")

                         Collection of Electronically Stored lnformation(ESI)

            Careful consideration should be given to the rnethodology,ilnplcmentation and
            documcntation ofESI collection to ensure that all responsive data and metadata arc
            prescrvcd in the collection process,Consideration should also be given as toヽ 〃hether
            production inedia should be encrypted、 vhen producing to the govemment lVhen required
            by law(i.e.HCalth lnsurancc Portability and Accountability Act(HIPAA),Family
            Educational Rights and P五 vacy Act(FERPA),etc.Sθ ιSection 22 below.

            1.     Speciflcation Ⅳlodiflcations

            Any lnodiflcations or deviations from the Production Speciflcations inay be done only
            Ⅵ√ith the express pellllission ofthe govcmment and thcse modiflcations or deviations
            should be coFrmunicated to the govemment and approved by the govemmentin written
                                                                                                  ot
            follll. Any responsive data or documents that exist in locations or native folllls■
            discussed in thesc Production Speciflcations remain responsive and,therefore,
            arrangements should be lnade、 vith the goverllment to lacilitate their production.

            2.      Production Format of ESI and lmaged IIard Copy]Docunlents
            Responsive ESI and imaged hard copy shlll be produced in the follllat Outlined bclow.
            All ESI,except as outlined below in scctions 5‑19,shall be rendered to TIFF image
            format,and accompanied by an Opticon/Concordance① lmage Cross Reference flle.All
            applicabb metadata/databasc(see Sec● On 3 belo→ ShaH be cxtractCd and providcd in
            Concordancc0 1oad flle fbllllat.

                 a. Image File Format:All documents shall be produced in black and white TIFF
                     format unless the image requires color. An image requires color nrhen color in
                     the document adds emphasis to infollllation in the document or is itself
                     infollllation that would not be readily apparent on the facc ofa black and whitc
                     lmage.

                 b. When producing black and、 vhitc paper documents scanned to images,or rendered
                    ESI,they shall be produced as 300 dpi,l bit,single― page TIFF flles,CCITT
                     Group IV(2D Compression).When prOducing in cθ ′     οろ paper documents
                     scarlned to images,or rendered ESI,they sh」     l be produced as 300 dpi sinde― page
                     JPG.Images should bc uniqucly and sequentially Bates numbered and unless
                     othenvise specifled,Batcs numbers should be an endorsement On each image.
                         i. All TIFF flle names shan include thc uniquc Bates number burned into the
                             image。 (Sec Section 20,below,regarding Bates number instructions.)
                         五. All TIFF image flles shall be stored、 vith thè̀.tif'extension.
                        iii. Images shall be OCR'd using standard COTS productS.
                                 1. An cxception report shall be provided、 vhen lilnitations ofpaper
                                     digitization sofhvarc/hardware or attribute conversion do not allow
                                    fOr OCR text conversion ofcertain inlages.The report shall
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                   SPtticttOns br Pr器
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                                       include the DOCID Or Bates number(s)Corresponding tO cach such

                                           &蝉
                                       llnage.



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                                          b. No image fOlder shall cOntain mOre than 2,00o images.

                   c. OpticOn/cOncordance① lmage:憎
                      accOmpanied by an opticOn 10ad￡            ::ド   」                窮 鰍輩
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                       ・ Field Four― (Y)一 thc document marker.À̀Y"indicates the start Ofa
                                                                                                      :


                            uniquc dOcumcnt.
                       ・ Ficld Five― (blank)̲The folder indicatOr.This fleld is nOt required,and
                           typically is not used.
                        o Field Six̲(blank)一 The bOx indicatOr.This fleld is not required,and
                           typically is not used.



                   こ
                        o Field Seven―
                                           (blank)一 The page cOunt.This fleld is not requircd.




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                   :柵 耀1窯縄         ll盤 罵¥讃 精彙1驚L
                         :嗜闘 猟ポ11枷               l』               n sectiOn 3.
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                                         器     』黒   l継       縦   寵 剛



                             l. Tcxt dclinlited load flles arc dcflned using the standard
                                   Concordance delinliters. For cxamplc:

                                             Field Separator           ¶οr(カ ル θ  2θ

                                             Text Qualifier            b οr COdθ 25イ

                                             Newline                   ⑪ οr(カ ル ゴ″
                                                                       °οr   Cθ グθfσ 7
                                             Multivalue
                                             Nested values             ヽοr   Cο グθθ92

                                                                                           the individual
                             2.    This load file should contain the relative file path to
                                   multi-page, document level text files'
                             3.    fnis toajfile should also contain the relative file path to all
                                   providednativef,tles,suchasMicrosoftExcelorPowerPointfiles'
                             4.Thereshouldbeonelineforeveryrecordinacollection'
                              5.   The load file must contain a header listing the metadata/database
                                                                                          consists of a
                                   fields contained within' For example, if the data file
                                   rirstrageofaRecord(BegDoc#),LastPageofaRecord(ending
                                   Bates / ENpooc+;, oocio, DocDate' File
                                                                             Name' and a Title'
                                   then the structure may appear as follows:

                                                                     cDArEbllbF ILENAM
                                    bBEGDocblhENDDo chtlbDoclDbllbDo
                                    Eh'lTbrIrLEb

                                                                     each document as a separate
             d.   The extractediocR text should be provided for
                  single text file. ]'he file name should match the
                                                                    BEGDOC# or DOCID for that
                  rp"lin. record and be accompanied by the 'txt extension'
                                                                          for productions should
             e.   Directory and folder structure: The directory structure
                  be:
                           \CaseName\LoadFiles
                           \CaseName\Images<Forsupportingimages(canincludesubfoldersas
                           needed, should n-ot include more than 2,000
                                                                       files per folder)
                                                                            include subfolders as
                           \caseName\Natives <Native Files location (can
                           needed, should not include more than 2,000
                                                                       files per folder)
                                                                            (can include subfolders         as
                           \CaseName\Text <Extracted Text files location
                            needed, should not include more than 2'000
                                                                       files per folder)
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         June 2019


                          specifications for production     o.f   Esr and Digitized (.,scanned,o),.rmages

                     3.      Required Metadata/Database Fields
                     A"{))   denotes that the indicated field should
                                                                     be present in the load file produced. ,,other
                     ESI" includes data discussed in sections 5
                     repositories (section 11), "stand alone"
                                                                     -
                                                                    l9 uii"*..   i* does not include email, email
                                                               items (secti on'lz),and
                                                                                 imaged hard copy material
                 (section     9)' Email,
                                   email repositories, and "stand uior.l'materials
                                                                                     (section l2) should
                 comply with "Email" column below. Imaged
                                                              hard copy materials sirould comply with
                 the "Hard copy' column' The parties
                                                        wilimeet una .'o'nr., about any field which cannot
                 be populated automatically (i.e. would
                                                        require;;;;"1;"pulation                ofinformation).




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                                                                                    Value           copy                    ESI
                                                                     'Iext          160             /          /            /

    SOURCEID oox                   Submission/volume/box             T"rt           10                         /
    #)                             number
                                                                                                   √                        /
    CUSTODIAN                      Custodian/Source -                I ext       160               /           /
                                   format: Last, First or                                                                   /
                                   ABC Dept.
 DUPECUsToDIAN                     Custodian/Sorr..      - uli       Text        Unlimited                     /            /
                                   custodians who had the
                                   document before de-
                                  duplication; format: Last,
                                  First or ABC Denr
DUPECUSTODIAN                     Llstmg oI all the tile            Text        Unlimited
FILE PATH                         Iocations of the                                                         /            /
                                  document before de-
                                  duplication
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                                                                    Text        60
                                  prefix)¨   No spaces
                                                                                                √          /            /
ENDDOC#                           End Bates (including              T"rt        60                         /
                                  prefix) - No snaces                                           √                       /
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                                 SaFne Valuc as Start Batcs
                                 (DOcID=BEGDOC#〕
PGCOuNT                          rageし Ount                        Number      10              /           /
GROUPID                                                                                                                 /
                                 Contains the Group                I ext       60
                                 Identifier for the family,                                                /            /
                                 in order to group files
                                 with their attachments


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                         Field DescriPtion




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                         Identifier of an
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ATTACHIDS                Child document list;
                         child DOCID or Child            semicolon
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                          filenames                      semicolon
                                                         delimited
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                          oarent
                                                          Text           60                √   y        /
ENDATTACH                 End Bates number of last
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                          Withheld Based On               delimited
                          Privilege         ̲̲̲
                                                          Text            60               y    /       √
RECORD TYPE               Use  the following
                          choices: Image, Loose E-
                          mail, E-mail, E-Doc,
                          Attachment, Hard CoPY
                          or Other. If using Other,
                          please speciff what tYPe
                          after Other
                                                          Text            160                      y        /
 FROM                      Sender (i.e. : e-mail
                           address, Last name, First
                           name)
                                                                                                   y        /
 TO                        Recipient (i.e. : e-mail        Text      -    Unlirnited

                           address, Last name, First       semicolon
                           name)                           delimited
                                                           Text一           Unlirnited               y       y
 CC                        Carbon CoPY ReciPients
                           (i.e.: e-mail address, Last     semicolon
                           narne First name)               delilnited
                                                                                                    y       イ
  BCC                      Blind Carbon CoPY               Text      -     Unlilllllited

                           Recipients (i.e. : e-mail       semicolon
                           address, Last name, First       delimited
                            name)
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      suBJECT               Srbi..t line of email
                                                           Text               Unl mited                       /
      TITLE                 Document Title
                                                           Text               Unlinlited            y
      CONVINDEX             E-mail system ID used to
                            track replies, forwards,
                            etc.
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    Field name




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                      Field Description




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                      files and Sent date for e-                                                   /          /
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                      mail. this field inherits
                      the date for attachments
                      from their parent. Do
                      not provide 00/00/0000.
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                     or the OCR

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Field name            Field DescriPtion




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                       Do not p■ ovidc
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     ZONE
 TIⅣ 田                  Time zone of collection           Decimal           10                    /
 OFFSET                 locality, relative to
                        Coordinated Universal
                        Time (UTC). E.g., for
                        US Central Standard
                        Time (CST), the value
                        for this field should be -
                         6.0
                        Nativc File Size in KBs               Decimal        10                            /
 FILE SIZE
                        File name - name of file              Text           Unliinited                    /
 FILE NAME
                        as it appeared in its
                        original location
                                                              Tc対            160                   /       √
 APPLICATION            Application used to
                        create native file (e'g.
                        Excel, Outlook, WorO



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                   Specifications for   *'9.9:"1',"-lj,t^TtJ#*,:if,lf;,,u', t"t"u"ned")

                                                                                               Hard   E―           Other
                                                               Field         Field
                              Fi.Id DescriPtion                              Value             Copy   mail         ESI
 Field name                                                    Type
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                                                                                                      y            √
                                                               Te対
                   ENS10N      Extension tbr the lte
                               (e.s. .doc, .Pdf, 'wPd)                                                             √
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…                                                              Text
 FILEPATH                      ffiaioriginal       source
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                                                                             unlimited                √
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                               R.t"ti"" file Path
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                                    inder name)                                                        y
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                                identttYtng value ur a
  HASH VNコ UE
                                llectronic record that is
                                used for deduPlication
                                during Processing' MD5
                     or SH]q.t hash algorithms
                     may be used, but must be
                     kept consistent
                     throughout all
                     nroductions and
                     lommunicated to
                      Governmenr
                                                                                  UnliFnited
                                                                                                           y
                                        Can                      Te斌
    MESSAGEHEADE R E-mail header.
                               IP address
                      ^nntcin                                                     10                       √
                                of attachments                    Text
    輌      MCO・ lNTT  Number
                      (any level child
                      iocument) associated
                      ..,ith n ParentlD                                                                                 √
                                                                                     60                    √

        FILE TYPE




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         HAS HIDDEN
         cONTENT                  儒            庶鳳1:饉 %￨
                                   track changeS Or other


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Case 4:21-cv-05067-TOR                 ECF No. 1-1      filed 04/23/21     PageID.39 Page 26 of 81



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       '
                                                                            Images
             Specifications for Production of ESI and Digitized ("scanned")
                                  ("Production SPecifi cations")




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                            Field DescriPtion




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Field name




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                                                                                       ｙ
                                                        Text         60                     √
blESSAGE TYPE               Exchange Message class
                            or equivalent
                                                        Text         UnliFnited             /       /
EXⅢ NDED                    For PDFs Only
PROPERTIES
                                                        Text          YesA.lo      √        /       /
HAS REDACT10NS              Identifies whether a
                            record has been
                            produced with
                            redactions; should be
                            populated with Y for
                            records with redactions
                            and N for records
                            without redactions.
                                                                                    Assisted
           4.     Search, De-Duplication, Near-Duplicate Identification, Technology
           Review, E-mail conversation Threading and other culling
                                                                           Procedures

              a. De-duplication of exact hash copies shall be performed globally- across all
                                                                                  the
                 custodians. The custodian of each record shall be populated in
                 DupeCustodian field.
                                                                                                  list'
              b. A11 files found on the National Institute of Standards and Technology (NIST)
                                                                                           to the
                 commonly referred to as deNISTing, should be      excluded from  delivery
                  Govemment. All available metadata from files withheld from
                                                                                 delivery due to the
                  deNISTing process will be available upon request'
              c. A1l files should be globally de-duplicated with the following conditions:
                                                                                         who had the
                   i.    The "DupeCustodian" metadata field (listing of all custodians
                                                                                 the document
                         documeni before de-duplication) must be provided with
                         production.
                         tne ,,DupeCustodian File Path" metadata field (listing all the file locations   of
                   ii.
                         the document before de-duplication) must be provided with
                                                                                      the document
                         production.
                                  and metadata for the duplicate documents removed during
                                                                                           de-
                   iii. All files
                                                                     for production upon request'
                         duplication must be preserved and available
                                                                                     approval by the
                   iv. No   customization of hashing may occur without prior express
                         Government.
                   v.    De-duplication must be done by document family, not by individual
                         document.
                                                                                               the process
                   vi. A detailed description of the steps taken to de-duplicate (including
                                                                                            For every
                         of obtaining hash values) must be provided to the Government.
                                                                                          shall  be
                         production-after the first, a separate unified custodian overlay
                                                                                      documents de-
                         provided. If no overlay i, n.."rrury due to the fact that no
                                                                              documents,  this shall be
                         iuped out in connection with previously produced




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                    SpeciflcatiOns fOr Production ofESI and DigitLed(̀̀SCanned")Images
                                              (̀̀PrOductiOn Speciflcations")

                              expressly stated in the cover letter accompanying the subsequent
                              production(s).

                    d'    The-recipient shall not use any other procedure to cull,
                                                                                     filter, group, separate or
                          de-duplicate, or near-deduplicate, etc.
                                                                  1i.e., reduce the volume"og ..rporrir.
                          material before discttssing with and obtaining the written
                                                                                         approval of the
                          government' All objective coding (e.g., nearduplicate
                                                                                     ID oi e-mail thread ID)
                          shall be discussed and produced to the gor"--"nt as
                                                                                    additional metadata fields.
                          The recipient will not employ analytic *ft*u.. or technology
                                                                                              to search, identify,
                          or review potentially responsive material, including but
                                                                                      notlimited to. technology
                          assisted review or predictive coding, without first
                                                                               iscussing with the govemment.
               5.        Hidden Text
              AII hidden text (e.g. track changes, hidden columns, mark-ups,
                                                                             notes) shall be expanded
              and rendered in the image file. For files that       b"
              produced with the image file.                  "u*oi "xpanded the native files shall be
              6.         Embedded Files
              All non-graphic embedded objects (Word documents, Excel spreadsheets,
                                                                                            .wav files, etc.)
              that are found within a file shall be extracted and produced. po,
                                                                                 purposes of production,
              the embedded files shail be treated as attachments to the
                                                                        originat file, with the
              parent/child relationship preserved.

              7.         Image-Only Files
             All image-only files  (non-sea_rchabre .pdfs, murti-page TIFFs,
                                                                               Snipping Toor and other
             screenshots, etc., as well.as all other images that coniain
                                                                         text) shail be iroduced with
             ocR text and metadata/database fierds identified in section fo. ,,oth.r
                                                                                 i            ESI.,,
             8.         Encrypted Files
             Any data (whether indiv.idual files or digital containers) that is protected
                                                                                          by a password,
             encryption key, digital rights management, or other encryptionicheme,
                                                                                         ,nutt u.
             decrypted prior to processing for production.

                   a.    The unencrypted text shall be exhacted and provided per
                                                                                    section 2.d. The
                         unencrypted files shall be used to render images and piovided
                                                                                         per sections 2.a
                        2'b' The unencrypted native file shall be proiuced pursuant to sections 10-19. and
                   b'   Ifsuch protected data is encountered but unable to be processed,
                                                                                            each file or
                        container shall be reported as an exception in the accompanying
                                                                                           Exception Report
                        (pursuant to section 25) and shall include all available
                                                                                 metadata associated with
                        the data, including custodian information.




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                    Speciflcations for Production ofESI and Digitized(̀̀SCanned'')ImageS
                                           ("Production         ifications")

              9.         Production of Imaged Hard Copy Records
                  imaged hard copy material shall reflect accurate document unitization
                                                                                        including all
              All
              attachments and container information (to be reflected in the PARENTID,
                                                                                         ATTACHID,
              BEGATTACH, ENDATTACH                 ANd   FOLDERID).

                    a.   Unitization in this context refers to identifying and marking the boundaries of
                         documents within the collection, where a document is defined as the smallest
                         physical fastened unit within a bundle. (e.g., staples, paperclips, rubber bands,
                         folders, or tabs in a binder).
                         The first document in the collection represents the parent document and
                                                                                                     all other
                    b.
                         documents will represent the children'
                    c.   All imaged hard cbpy documents shall be produced as 300 dpi single-page TIFF
                                                                                                          in
                         files, CCITT Group iV (ZO Compression). All documents shall be produced
                         black and white TIFF format unliss the image requires color.     An  image  requires
                         color when color in the document adds emphasis to information in the document
                                                                                                    a black
                         or is itself information that would not be readily apparent on the face of
                                                                                          produced   as color
                         and white image. Images identified as requiring color shall be
                         300 dpi single-Page JPEG files.
                    d.   All objective.oaing (e.g., document date or document author) should be
                         discusied and could be produced to the government as additional
                          metadata/database fields should they be deemed as necessary.

              l0.ProductionofSpreadsheetsandPresentationFiles
                                                                                          produced in the
              All spreadsheet and presentation files (e.g. Excel, PowerPoint) shall be
                           ,,as
                                kept in the ordinary course of business" state (i.e., in native format), with
              unprocessed
              an associated placeirolder image and endorsed with a unique Bates
                                                                                      number. see section
              20 below. fne nte produced should maintain      the integrity of all source, custodian,
              application, embedded and related file system metadata'

               11.       Production of E-mail Repositories
                                                                                        Lotus NSF)' can
               E-mail repositories, also known as e-mail databases (e.g., Outlook PST,
                                                                                    tasks, etc' E-mail
               contain aiariety of items, including: messages, calendars, contacts,
                                                                              with  and written consent
               database systems should not be produced without consultation
               of the goverlment about the format for the production of such databases'
                                                                                                     Found
               12.     Production of Items originally Generated in E-mail Repositories but
               and collected outside of E-mail Repositories, i.e., "stand-alone"       Items
                                                                                         notes, etc') found
               Any parent e-mail or other parent items (e.g., calendar, contacts' tasks,
                                                                                extensions
               and collected outside of e-mail repositories (e.g., items having              'msg, 'htm,
                                              with the "Loose  E-mail"  metadata fields  outlined in section
               .mht, etc.), shall be produced
               3, including but not limited to any attachments, maintaining the
                                                                                 family (parent/child)
               relationship.
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                                                            :i::,tlji,'J,Td("Scanned")rmages
                      13. Production of rnstant Messenger (rM), voicemail Data,
                      Data, Text Messages, etc.                                 Audio Data,video
                   The responding parfy shail identify,
                                                          coilect, and produce any and a1 data which
                   responsive to the requests which may                                                  is
                                                            be stored in audio or video recordings,
                   phone/PDA/Blackberry/smart phone                                                  cerl
                                                           data, tablet data, voicemail messagin g
                  messaging, text messaging, conference                                             data,instant
                                                             cail data, video/aralo .onr"rencing (e.g., GoTo
                  Meeting, webEx), and rerated/simirar technorogier.
                  or other files related thereto, as well as
                                                                            H;;;;"r, such data, logs, metadata
                                                             other les-s common but similar data types,
                                                                                                          shall
                  produced after consultation with and
                                                          wrinen."rr";i-;i;i;"gou.*-"nt about the formatbe
                  for the production ofsuch data.

                 The expectation of the government is that
                                                             all familial relationships for all data will
                 maintained' Similiarly to email conversations                                            be
                                                                  and a.iii"r,irre expectation is that
                messages/texts in a conversation will be                                                 all
                                                           provided the same conversation index
                groupid data (maintaining the familial                                                and
                                                         reiationshipi.ilr*rg the government to read the
                entire conversation in context'. Messages
                                                            should ili p.oar..-a to align with the
                listed in section 2 and as individual un'icode                                       formats
                                                                text fires, andattachments should be
                produced as native files with images
                                                       and OCR text.

                14.     Production of Social Media
                Prior to any production of responsive data
                                                             from sociar media (e.g., Twitter, Facebook,
                Google+, Linkedln, etc.) the producing party
                                                                 shall first discuss with the government
               potential export formats before collecti"ng.                                                the
                                                            the informatior, ,o .nrrre it is collected
               produced in a way that preserves the                                                    and
                                                      orig-inal metaaata, t u.-u        chain of custody, and
               provides as much information as possible
                                                            regarding tt" ,ou..""t.u.
                                                                                    uno;'r'rr*;;#'
               individual communication.

               Social media platforms offer different
                                                        functions, forms of content, and capability
               downloading accounts' Because of these,                                                 for
                                                            differences, prior to collection of social
               data, the producing party must discuss                                                  media
                                                         with the gor"*1r"nt t"he avairabre export
               production methods and formats that                                                   and
                                                      the producing party is considering.
               govemment agrees to an alternative                                            Unress the
                                                     in *iitirg, ..g"u.ot.s of the social
              productions of social media content                                          media  platform,
                                                    must meet tnJ rottowing grn..ut requirements:
              separate (2) searchabre (3) static images                                                  (l)
                                                          of (4) each ."rpor,r?ul posting on the social
              media platform, (5) ail.rerate!.c9nteni (e.g.,
                                                               comments, likes, share or re_transmittar
              information, images, videos, linked documents
                                                                  and content), and (6) associated metadata
              (e'g'' user name(s), date, and time of all
                                                         posts, comments, likes, share or re-transmittals).

             These general requirements are in addition
                                                            to any more specific requirements in
             particular request (e.g., georocation data),                                           a
                                                          and thl p-dr.i;;;;rg must ask
             government about any perceived                                                    the
                                                conflict between these requirements and
             of specifications or teq,i.em.nts. If available                                 another source
                                                               from th" ;;l;i^,"edia platform or through
             social media data processing software,
                                                      files that facilitate inieractive review
                                                                                               of the data
つ４
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                       Speciications brProttCt'nギ Eqland D増 ■Led(             SCanned")ImageS
                                         ("Production   fications")

                 (1.e.,html iles)aS WCll as load iles in.csv folll.at must be produced with the associated
                 content.


                 15。     Productioi of Structured Data
                 P■ orto anyproduction ofresJonsive data■        om a structured database(c.g"Oracle,SAP,
                 SQL MySQL Q宙 CkB00b,Fo"∝ 暉 Im;留
                                                                      臨   [∬ 器 鞣     ∫鵠 凛 ∫‡ 霊           l'
                 CR卜 Is,SharePoint,etc.),the prOducing paJフ
                 vcrsion number,discuss pro宙 ding the database dictionary(in whOle Or part)and any user
                 manualS,Or any other documentation describing the structure and/or content ofthe



                           富淵岨Him
                 database and a list of all reports that can be generated from the database. Upon



                 響撒榔構l鮒掘I臆
                 before production.
                                                                 thoroughly explained to the govemment



                 16.     ProductiOn of Photographs vvith Native File or Digitized ESI
                                                                                                              b
                            翼箭 蹴囃 :構釧 賓器 静
                 牌 翻 樫:鷺 I野 零
                 metadata/database flelds provided in a Concl
                 section 3 for̀̀Other ESI.''

                  17.    PFOduction oflmages froln whiCh Text Cannot be OCR Converted

                        :財 調
                 棚 淵 肥 潔お                                         W樹 菫 眼籠オmttStti鴨 ゎ
                  certain images. The report shall include the
                  cach such image.

                  18.    Production of ESI from Non― PC or Non‐ Windows― based Systems


                  I靱:鮮RTMH聾 襦
                  discussion with andヽ vritten consent ofthe g             網 郡 ギ
                                                                                ‰
                  prOduction of such data.

                  19。       Production ofNative Files OⅣ hen Applicable Pursuant tO These
                  Specirlcations)


                  驚 舅』:縦 よ 榊:::1∬ &鵠 :1::普 1宙 ξ
                         :翼Ъ                   撚 理富雷ithe
                                               well as a山 山
                        ::獲
                               '1毬                        d                                              r


                  魂:鷺諸筆:蹴::漁為 躍猟鳳      満  Im3郎
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June 2019

                  Specifications for Production of ESI and Digitized ("Scanned") Images
                                       ("Production Specifications")

            ESI shall be produced in a manner which is functionally usable by the government. The
            following are examples:

                  a. AutoCAD data, e.g., DWG and DXF files, shall be processed/converted and
                     produced as single-page JPG image files and accompanied by a Concordance®
                     Image formatted load file as described above. The native files shall be placed in a
                     separate folder on the production media and linked by a hyperlink within the text
                     load file.
                  b. GIS data shall be produced in its native format and be accompanied by a viewer
                     such that the mapping or other data can be reviewed in a manner that does not
                     detract from its ability to be reasonably understood.
                  c. Audio and video recordings shall be produced in native format and be
                     accompanied by a viewer if such recordings do not play in a generic application
                     (e.g., Windows Media Player).

            20.      Bates Number Convention
            All images should be assigned Bates numbers before production to the government. Each
            Bates number shall be a standard length, include leading zeros in the number, and be
            unique for each produced page. The numbers s�ould be endorsed on the actual images at
            a location that does not obliterate, conceal, or interfere with any information from the
            source document. Native files should be assigned a single Bates number for the entire
            file which will represent the native document in the Opticon/ Concordance® Image Cross
            Reference file. The load file will include a reference to the native file path and utilize the
            NATIVELINK metadata field). The Bates number shall not exceed 30 characters in
            length and shall include leading zeros in the numeric portion. The Bates number shall be
            a unique number given sequentially (i.e. page one of document is PREFIX000000000 1,
            page two of the same document is PREFIX0000000002) to each page (when assigned to
            an image) or to each document (when assigned to a native file). If the parties agree to a
            rolling production, the numbering convention shall remain consistent throughout the
            entire production. There shall be no spaces between the prefix and numeric value. If
            suffixes are required, please use "dot notation." Below is a sample of dot notation:

                                   Document #I                         Document #2
             Page #I               PREFIX0000000000 1                  PREFIX00000000002
             Page #2               PREFIX0000000000 1.002              PREFIX00000000002.002
             Page #3               PREFIX0000000000 1.003              PREFIX00000000002.003

            21.      Media Formats for Storage and Delivery of Production Data
            Electronic documents and data shall be delivered on any of the following media:

                  a. CD-ROMs and/or DVD-R (+/-) formatted to ISO/IEC 13346 and Universal Disk
                     Format 1.02 specifications; Blu-ray.
                  b. External hard drives (USB 3.0 or higher, formatted to NTFS format
                     specifications) or flash drives.


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                    Specifications for Production of ESI and Digitized ("Scanned") Images
                                           Production      ifications")

                    c.   Storage media used to deliver ESI shall be appropriate to the size of the data
                                                                                                        in
                         the production.
                    d.   ivteOia should be labeled with the case name, production date, Bates range, and
                         producing Party.

                 22.    Virus Protection and security for Delivery of Production Data
                 production data shall be free of computer viruses. Any files found to include   a   virus shall
                 be quarantined by the producing party and noted in a 1og to be provided to the
                 gou.rn.n.nt. Password protected or encrypted files or media shall be provided with
                 fonesponding purr*o.dr and specific decryption instructions. All encryption software
                 shall be used with approval by and with the written consent of the government'

                 23.    Compliance and Adherence to Generally Accepted Technical Standards
                 production shatl be in conformance with standards and practices established by the
                 National Institute of Standards and Technology ("NIST" at www.nist.gov), U.S. National
                 Archives & Records Administration ("NARA" at www.archives.gov), American Records
                 Management Association ("ARMA International" at www.arma.org), American National
                 Standirds Institute ("ANSI" at www.ansi.org), International Organization for
                 Standardization ("ISO" at www.iso.org), and/or other U.S. Government or professional
                 organizations.

                 24.     Read Me Text File
                 All deliverables shall include a"readme" text file   at the root directory containing: total
                 number of records, total number of images/pages or files, mapping of fields to plainly
                 identiff field names, types, lengths, and formats. The file shall also indicate the field
                 name to which images will be linked for viewing, date and time format, and confirmation
                 that the number of files in load files matches the number of files produced.

                 25.     Exception Report
                 An exception report, in .csv format, shall be included, documenting any production
                 anomalies during the collection, processing, and production phases. The report shall
                 provide all available BEGDOC# or DOCID values and metadata listed in section 3,
                 including but not limited to file names and file paths for all affected files.

                 26.     Transmittal Letter to Accompany Deliverables
                 All deliverables should be accompanied by a transmittal letter including the production
                 date, case name and number, producing party name, and Bates range produced.
                 Technical instructions on how to decrypt media should be included in the transmittal
                 letter but the password should be transmitted separately.


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                    EXHIBIT 2
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Civil Inyestigative Demand-Oral Testimonyflnterrogatory Responses/Document Requests


             IJnited States Attorney's Office for the
                  Eastern District of Washington
                                         Spokane, WA 99201



  TO: Elyssa Young                                     Civil Investigative Demand EDWA 21-005
       2522N. Proctor St.#524
       Tacoma, Washington 98406



         This Civil Investigative Demand is issued pursuant to the False Claims Act, 31 U.S.C.
 SS 3729-3733, in the course of a False
                                         Claims Act investigation to determine whether there is or
 has been a violation of 31 U.S.C . S 3729.The False Claims Act investigation
                                                                                concems allegations
 that Sunrhys, LLC (you or Sunrhys) have violatedthe False claims Act,31 U'S.C. $3729,by
 knowingly submitting and causing to be submitted false claims, and making and using false
                                                                                            concems
 statements material to the payment of false claims. Specifically, the investigation
                                                                                        period"), you
 allegations that between January 201 9 and the present (hereinafter the "relevant time
 knowingly overcharged your tenant in excess of the allowable and agreed-upon amount, and
 falsely and fraudulently sought and obtained reimbursement of federal U.S. Department of
 Housing and urban Development-veterans Affairs Support Housing (HUD-VASH)
                                                                                          funding in
 violation  of program requirements for your property located at 3712 Mill Creek Road, Walla
 Walla, Washington 99362 (The Mill Creek Road Properly)'

         This Demand requires you to provide oral testimony, documents, and answers to
                                                                                    copies have been
 interrogatories to the Federal Government. This is the original of the Demand; no
                                                                                to this Demand may
 served on other parties. The information and documents provided in response
 be shared, used, and disclosed as provided by 31 U'S'C' $ 3733'

                                    A.   DocumentarY Material

         you are required by this Demand to produce any and all documents        in your possession,
 custody or control responsive to the requests stated in Attachment A hereto'

        you must make this material available to Assistant United States Attorneys Dan Fruchter,
 and Tyler Tornabene, who have been designated as False Claims Act custodians
                                                                                in this case.


         Unless otherwise stated, the relevant time period is from January 2019,to the present.
                                                                                                The
                                                   1
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  telllls ̀̀document'' and   dOcuments" as used in this civil lnvestigative Demand and any
  attachent(S)are uSed in the brOadest sense pellllitted by the Federal Rules Of civil Procedure 26
  and 34 and include,but are not lirnited tO,any written Or electronically storcd informatiOn. The
  tellll̀̀cOlllmunicatiOn"shOuld be interpreted by yOu in the broadest possible sense and lneans the
  translnitta1 0r exchange Of infOrmatiOn by any llneans,whether by chance or design,and includes,
  but is not liinited tO,telephOne conversatiOns, cOnversatiOns lll mectings, letters,memoranda,
 notes,telegraphic and telex cOmmunicatiOns,by face̲10¨
                                                          face encOuntcr,by regular rnai1 0r cOurier,
 by telephone,Or by Other rneans OfelectrOnic cOmmunicatiOn,whether translnitted in interstate or
 intrastate cOInlnerce.


         The General lnstnlctions provided in Attachment A to this Civil lnvestigative Dernand
 shall govem yOur productiOn of dOcuments responsive tO this Civil hvestigative]Demand.The
 SpedicationS fOr PrOductiOn of ESl and Digitized(
                                                          SCanncd")Images lA■ achment B)Sh」 1
 further goverll your productiOn Of aH materials, including hard cOpies Of dOcuments and
 electronically stOred∈ 〕
                        SI)materials and digitized images,respons市 e tO this c市
                                                                                il IIlvestigat市 c
 Demand.

        These dOcuments shall be produced n0 1ater than thirty(30)days frOm the receipt Ofthis
 Demand,at the United states Attomey's Offlce fOr the Eastem District Of washingtOn,920W.
 Riverside Ave.,Room 340,Spokane,washington 99201.IIIr.Fruchter and
                                                                              Ⅳ[.TOmabene can be
reached at(509)353‑2767.The prOductiOn of dOcumentary material in respOnse tO this Demand
must be made under a swOm ccrtincate in the f0111l printed in this Demand.


                                 Bo     lnterrogatOrv Responses

        Unless Othenvise stated,the relevant tilne period is fronl January l,2019,tO thc present.
You arc rcquired by this Dcmand to answcrthe intcrrogatOries stated in Attachmcnt A heretO. The
answcrs tO the interrogatOHes must be submitted no later than thirty(30)dayS frOm the receipt Of
this Demand,to the United States Attomey's Office for the Eastem District Of washingtOn,920
W.Riversidc Ave.,Spokane,washingtOn 99201,Or at such tilne and in such otherplace Or manner
as lnay be agreed upOn by Assistant United States Attorneys Dan Fruchter,Tyler Tomabene,and
you.The intcrrogatOries shall be answered under oath and verifled by yOu.If yOu o切
                                                                                        eCt tO any
intcrrogatory,the reasOns for the o● cctiOn shall be stated with speciicity.The instructiOns sct
forth in Attachnent A wili govem your answers.


                                      C. Oral Testimonv

       You arc further required by this Demand to give oral testilnony under oath,cOmmencing
seven(7)days frOm the date ofreceipt ofthis Demand,at 9:00a.m.,atthe United States A■ omey's
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Offrce for the Eastern District of Washington, 920 W. Riverside Ave., Spokane, Washin$on
9g2}l, or at such time and in such other place as may be agreed upon by Mr. Fruchter and/or Mr.
Tornabene and you. The testimony will be taken stenographically and also may be recorded audio-
visually.

        AUSAs Dan Fruchter and Tyler Tornabene are False Claims Act investigators who may
conduct the examination, and the custodians to whom the transcript of the deposition will be
delivered. Your attendance and testimony at the oral examination are necessary to the conduct of
the False Claims Act investigation described above. You have the right to be accompanied by an
attomey and any other personal representative at the oral examination.


       The general purposes for which this Civil lnvestigative Demand is issued are to discover
your knowledge, between January 1,2079 and the present, about claims for reimbursement of
HIID-VASH funding made by you with respect to the Mill Creek Road Property. Some specific
areas   of inquiry, while not intended to be exclusive, are set forth below:

          1.     Claims for reimbursement of HUD-VASH funding with respect to the Mill Creek
Road Property.


         2.      Your communications with tenants, government entities and employees, and other
persons or entities concerning the   Mill   Creek Road Property'


         3.   Your understanding of, efforts to comply with, program requirements, regulations,
and the terms of the Housing Assistance Payments GIAP) contract and lease with respect to the
Mill Creek Road Property.

         4.      Rent payments by or on behalf of any tenants with respect to the       Mill   Creek Road
Property.



         Issued at Spokane,WA,this(2ゴ L21̀::シ                             ,2021


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                                                           ting United            A
                                                                   District of    ashington
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                Attachment A




                                       4
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          INSTRUCTIONS FOR          CIVI       TNVESTIGATIVE DEMAND NO. EDWA                21-OO5


                 A. DrrrNtrroNs Usrp mrrusCrvu- IrwnsrrcATrvE                   DnrvraNn

         The following definitions (both in the singular and in the plural) shall apply:

         1. "Sunrhys"       shall refer   to   Sunrhys,   LLC, along with any and all of your predecessors

in   interest, successors ininterest, parents, subsidiaries, related entities or organizations, brother or

sister entities, affiliates, facilities, properties, owners, governors, employees, officers, agents, board

members, or subsidiaries.

         2.   The term "documents" shall have the same meaning as set forth in Federal Rule of        Civil

Procedure 3a(aXlXA) and shall mean and refer to paper documents and electronically stored

information, as that term is defined in the 2006 Advisory Committee Note to Rule 34(a) ("Rule

3a(a)(l) is expansive and includes any tlpe of information that is stored electronically"). Paper

documents shatl include, but not be limited to, correspondence, emails, communications, reports,

studies, memoranda, directives, policies, agendas, minutes, resolutions, worksheets, graphs, charts,

addenda and attachments, written, graphic, and photographic matter. sound recordings, however

produced orreproduced, of every kind and description, including, but not limited to, all copies and

drafts thereof that have annotation, notes, modifications or other alterations.

         3.   "Communication" shall mean the transmittal of information (in the form of facts, ideas,

inquiries, or otherwise), and any documents concerning communications.

         4.   ..Conceming"     or   "concerns" shall mean relating          to, referring to,   describing,


evidencing, or constituting.
                                                           ξυ
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                                               B.INSTRUCTIoNS

     1'   Production of Electronically Stored Information. The United
                                                                      States Attorney for the

 Eastern District of washington hereby requests that you produce
                                                                 documents that are maintained

 as electronically stored information in a logically unitized
                                                                         format.    Logical unitization of
 documents requires you to ensure, among other things, that
                                                                    a   particular document capfures all of
 its respective pages and that document relationships, such as ,.parent,,
                                                              a           documen             t   (e. g.   , a fax
 cover sheet) and "children" attachments (e.g., a faxed letter
                                                               and attachment to the letter), are
preserved' The United States Attorney forthe EasternDistrictofWashingtonhereby
                                                                               incorporates
by reference into these instructions and the Civil Investigative Demand,
                                                                         Attachment B,
"specifications      for   Production   of ESI and Digitized ("Scanned,,) Images (.,production
Specification")" requests that documents be produced in accordance
                                                                   with those specifications or
in native format, except as specifically agreed to between you
                                                               and the identified False Claims Act

custodian.

   2'   Privilege   Log' If you   assert a privilege regarding the production      of any document, with
respect to each document to which the privilege is asserted,
                                                             state the following:

        (a) the privilege claimed;

        (b) precise statement of the facts upon which the claim of privilege
                                                                             is based; and

        (c) the following information    as   to each purportedly privileged document:

             (i)    the nature of the document, e.g.,letter,memorandum, photograph, tape, electronic

                    copy, etc.;

             (ii) the date on which it was prepared;
             (iii) the identity of the person by whom it was prepared;
                                                     6
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                (iv) the identity of each person to whom it was delivered or sent; and

                (v)    the identity ofthe person or entity that presently has custody or control ofsuch

                       document.

   ln addition, any attachment to an allegedly privileged document should be identified on the
privilege Log separately from the document to which it is attached. Moreover, an e-mail containing

a string of related e-mails (replies or forwarding the original text) should not be identified on the

privilege Log as a single document. lnstead, each e-mail in the string should be identified on the

privilege Log separately with a notation indicating the previous e-mails it contains'

    3.   Unless specifically stated so within, these requests require production of the entire document.

    4.   Materials required by the.Civil tnvestigative Demand should be accompanied by an index

identifying each document or other materials and the item or items of the Civil Investigative Demand

to which it refers.

                                         DOCUMENT REQUESTS

         1.       Documents conceming any claims for reimbursement made or submitted by you or by

         Sunrhys, LLC (Sunrhys) of HUD-VASH funding or other federal funding with respect to the

         Mill   Creek Road ProPertY.

         Z.        Documents conceming any communications, whether external or intemal, concerning

                Mill   Creek Road Property, including, but not limited to, any communications
                                                                                              with or
         the

                                                                      government entity, claim for
         conceming any tenant, rent payment, federal, state, or local

         reimbursement, or agreement conceming the        Mill   Creek Road Property'


                   Documents conceming any agreement with any tenant or
                                                                        with any federal, state' or
         3.
         local govemment entity concerning the Mill creek Road
                                                               Property.
                                                      7
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         4'      Documents concerning your or Sunrhys' understanding
                                                                     of, efforts to comply with,
         program requirements, regulations, and the terms
                                                          of the Housing Assistance payments (HAp)

         contract and lease with respect to the    Mill creek   Road property.

         5'     Documents concerning any rent payments to you or
                                                                 to Sunrhys by or on behalf of any

         tenants with respect to the   Mill   Creek Road property.




                                          INTERROGATORIES


        1'      List each claim for reimbursement of federal, state, or Iocal governments
                                                                                          funds made
 by you or by Sunrhys with respect to the      Mill creek   Road property, including:

                a. The date any such claim was made or submitted;
               b.    The date ofpayment of any such claim;

               c. The means by which payment was madel
               d. The amount claimed;
               e. The amount paid;
               f.   The agreement under which any such craim was submitted;

               g.   The time period covered by or pertaining to any such claim.

       2'      List each rent payment made to you or to Sunrhys with respect to the
                                                                                    Mill Creek
Road Property, including:

              a.    The date ofpayment;

              b.    The means by which payment was made;

              c.    The amount paid;
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            d. The agreement under which any such claim was submitted;

            e. The time period covered by or pertaining to any such claim.




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               Attachment B




                                       10
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                 specifications for Production of ESI and Digitized ("scanned")
                                                                                Images
                                      ("Production SPecifications)

                         CollectiOn ofElectronically Stored lnformation(ESI)

            Careful consideration should be given to the lnethodology,ilnplementation and
            documentation ofESI collection to ensure that all responsive data and metadata are
                                                            ltion should also be given as to whether
                                                            )roducing to the goverrment lvhen required
                                                            ヽccountability Act(HIPAA),Family
                                                            ),etc.Sθ θSection 22 below.


            1.     SpeCirlcation Ⅳlodirlcations

            Any lnodiflcations or deviations from the Production Speciflcations lnay be done only
            、vith the express pellllisSion ofthe govemment and these modiflcations or deviations
                                                                                                     vritten
            shOuld be corrmuniCated to the govcmment and approved by the govemmentin、
            follll. Any responsive data or documents that exist in locations or native folllls not
            discusscd in thesc Production Speciflcations remain responsive and,therefore,
            arrangements shOuld bC Inade、 〃ith the government to lacilitate their production.

            2,       ProductiOn]Format of ESI and lmaged Hard Copy]Documents

            lil111:￨:賃 :軍     ∬:l麟i::1:i:￨lill進 諸ll:leproducedinthefollllatoutlinedbelow.
                                                     5‑19,shall be rendered to TIFF image
            forrnat,and accompanied by an Opticon/ConcordanccO Image Cross Rcference flle.All
            applicable metadata/databasc(see Section 3 bclow)shall bC extracted and provided in
            Concordance①      load file format.

                                                                                       vhite TIFF
                  aI Image File Format:All documents shall be produced in black and■
                                                                                    When color in
                     format unless the imagc requires color. An image requires colo■
                     the document adds cmphasis to infollllation in the document Or is itself
                     inforlnation that would not be readily apparent on the face of a black and white
                     lmage.

                  bo When producing black and、 〃hite paper documents scanned to images,or rcndered
                      ESI,they shallbe producedas 300 dli,l bit,single―
                                                                        page TIFF flles,CCITT
                     Group IV(2D CompreSSiOn).When
                      scanncd to images,Or rendered〕 ESI,
                      JPG.Images ShOuld be uniquely and
                      othenvise speciflcd,Bates numbers s
                          i. All TIFF fllc names shallinclude thc uniquc Bates number burned into thc



                         血h『S機
                              image。   (SCe Section 20,below,regarding Bates number instructions.)
                         五. All TIFF image flles shall be stored vvith the C̀.tif'extension.


                                                  器    棚Lw
                                                  撤繊麟脳漁Ⅷ
                                       fOr OCR text conversion of certain inlages.The report shall
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                      Speciications fOr ProductiOn OfESI and DigitLed(
                                                                                   sCanned")Images
                                             (   PrOductiOn SpecificatiOns")

                                          include the DOCID or Bates numbcr(s)COrresponding tO each such
                                          llnage.
                                              a. All pages Ofa dOcument Or all pages Ofa cOllectiOn Of



                                                    量rng〕
                                                    :ょ
                                                          概罵l管 乱
                                                               留:胤 ∫
                                                                      i離
                                                                   ::慇 ∬ Th予
                                              b. No image fOldcr shali cOntain mOre than 2,000 images.

                      c. OpticOn/Concordance① lmage Cross Reference rlle:Images shOuld be
                         accompanied by an opticOn load ile that assOciates each Bates number with its



                         淵蜘r憾朧 髪
                               幕滞 亜
                                  i梅IIW
                         each line representing One image,

                        Below is a samplc:

                                駆 L0000ooool,,.ヽ IvIAGESヽ 001ヽ REL000oooool.TIF,Y,,,
                                ML0000oooo2,,.ヽ INIIAGESヽ 001ヽ ]ヽ EL0000oOoo2.TIF,,,,
                                REL0000oooo3,,.ヽ IPIAGESヽ 001ヽ REL000oo00o3.TIF,,,,
                                駆 L0000oOoo4,,.ヽ IPIAGESヽ Oolヽ ]ヽ EL0000oOoo4.TIF,Y,,,
                                REL0000oooo5,,.ヽ INIIAGESヽ 001kREL0000oOoo5.TIF,",

                       The flelds are,from lei tO right:


                             o Field Onc̲(FEL000oooool)一 the Bates Number.This valuc must be
                                unique fbr each row in the oPT flle.The flrst page Ofeach dOcument must
                                matchthe DOCID or BEGDOC#value Ofthe respective dOcument.

                             :難
                                      選ギilお鋼 l卜 棚臨肌 琴賽 乳
                                                       翻よ乱
                           ・ Field Four― (Y)一 the document marker.A             Y''indicates the start Of a
                               unique dOcument.
                           ・ Field Five― (blank)一 The folder indicatOri This fleld is nOt required,and
                               typically is not used.
                            o Field Six̲(blank)一 Thc bOx indicator.This flcld is nOt required,and
                               typically is nOt used.
                          ・ Field Seven― (blank)一 The page count.This flcld is not required.

                 d.    ConcOrdance① Load File:Imagcs shOuld alsO be accOmpanied by a flat,
                       document― level load fllc tO prOvide the inetadata and native flles cOntaining
                       delilnited text that、 vill populate flelds in a searchable,flat database
                       environment. The flle encOding lnust be one Offbur types:Westem Europeall
                       (WindOWS),UnicOde(UTF16),Big¨ Endian Unicode or UTF8.The flle shOuld
                       contain the required flelds listed below in sectiOn 3.



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             Specifications for Production of ESI and Digitized ("scanned") Images
                                    ("Production

                            l.   Text delimited load files are defined using the standard
                                 Concordance delimiters. For example:

                                         Field Separator           ¶οr Cο dC θ2θ
                                         Text Qualifier            p or coJθ 25ィ
                                         Newline                   ① οr Cο グ イ
                                                                   °θr Cο グὶfア
                                         Multi-value                         fσ ア

                                         Nested values             ヽοr Codθ θ92

                            2.   This load file should contain the relative file path to the individual
                                 multi-page, document level text files.
                            3.   This load file should also contain the relative file path to all
                                 provided native files, such as Microsoft Excel or PowerPoint files.
                            4.   There should be one line for every record in a collection'
                            5.   The load file must contain a header listing the metadata/database
                                 fields contained within. For example, if the data file consists of a
                                 First Page of a Record (BegDoc#), Last Page of a Record (ending
                                 Bates / ENDDOC#), DOCID, DOCDate, File Name, and a Title,
                                 then the structure may appear as follows:

                                 bBEGD ocblTbENDDocbllbDoclDbllbDo
                                                                   cDArEb'1[bFILENAM
                                 EbflbrlrLEb

             d.   The extracted/OCR text should be provided for each document as a separate
                  single text frle. The file name should match the BEGDOC# or DOCID for that
                  specific record and be accompanied by the .txt extension.

             C.   Directory and folder structure: The directory structure for productions should
                  be:
                         \CaseName\LoadFiles
                         \CaseName\Images < For supporting images (can include subfolders as
                         needed, should not include more than 2,000 files per folder)
                         \CaseName\Natives <Native Files location (can include subfolders as
                         needed, should not include more than 2,000 files per folder)
                         \CaseName\Text <Extracted Text files location (can include subfolders        as

                         needed, should not include more than 2,000 files per folder)
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                      t'""'o""'"""""?lJijl',l"l,lfTrll,gjr,f
                                                                       ,1:l("Scanned")rmages
                 3.      *"ru
                  A"l/" denotes that the indicated field should be present in the load file produced. ,,Other
                 ESI" includes data discussed in sections 5 19 bilow, but does not include
                                                             -
                 repositories (section 1l), "stand alone" items (secti on l2),and imaged
                                                                                                email, email
                                                                                           hard copy material
                 (section 9). Email, email repositories, and "stand alone" materialsfsection
                                                                                                l2) should
                 comply with "Email" column below. Imaged hard copy materials should
                                                                                              comply with
                 the "Hard Copy" column. The parties will meet and confer about
                                                                                     any field which cannot
                 be populated automatically (i.e. would require manual population
                                                                                     of information).

 Field name                      Field Description            Field       Field            Hard       E-         Other
                                                              Type        Value            Copy       mail       ESI
COLLECTION                       Name of the                  Text        160
SOURCE                                                                                     /          /          /
                                 Company/Organization
                                 data was collected from
SOURCE ID(BOX                    Submission/vo lume/box       Text        10            /             /          √
#)                               number
CUSTODIAN                        Custodian/Source -           Text       160            /         /          /
                                 format: Last, First or
                                 ABC Dept.
DUPECUSTODIAN                    Custodian/Source - all      Text        Unlirllited              /          /
                                 custodians who had the
                                 document before de-
                                 duplication; format: Last,
                                 First or ABC Dept.
DUPECUSToDIAN                   Listing of all the file     Text         Unlinlited
FILE PATH                                                                                         /          /
                                 locations of the
                                document before de-
                                duplication
AUTHOR                          Creator of the document     Text        500                                  √
BEGDOC#                         Start Bates (including      Text        60             √          /          √
                                prefix) - No spaces
ENDDOC#                         End Bates (including        Text        60             /          /          √
                                prefix) - No spaces
DOCID                           Unique document Bates       Text        60             /          /          /
                                #or pOpulate、vith the
                                same value as Start Bates
                                (DOCID=BEGDOC#)
PGCOUNT                         Page Count                   Number     10             /          √          /
GROUPID                         Contains the Group           Text       60                        /          y
                                Identifier for the family.
                                in order to group files
                                with their attachments



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             Specifications for Production of ESI and Digitized ("Scanned") Images
                                  ("Production Specifications")

Field name             Field Description              Field      Field       Hard   E-     Other
                                                      Type       Value       Copy   mail   ESI
PARENTID               Contains the Document          Text       60                 ✓      ✓
                       Identifier of an
                       attachment's parent
ATTACHIDS              Child document list;          Text-     Unlimited     ✓      ✓      ✓
                       Child DOCID or Child          semicolon
                       Start Bates                   delimited
ATTACHLIST             List of Attachment            Text-     Unlimited            ✓      ✓
                       filenames                     semicolon
                                                     delimited
BEGATTACH              Start Bates number of         Text      60            ✓      ✓      ✓
                       parent
ENDATTACH              End Bates number of last       Text       60          ✓      ✓      ✓
                       attachment
PROPERTIES             Privilege notations,          Text-     Unlimited     ✓      ✓      ✓
                       Redacted, Document            semicolon
                       Withheld Based On             delimited
                       Privilege
RECORD TYPE            Use the following             Text        60          ✓      ✓      ✓
                       choices: Image, Loose E-
                       mail, E-mail, E-Doc,
                       Attachment, Hard Copy
                       or Other. If using Other,
                       please specify what type
                       after Other
FROM                   Sender (i.e. : e-mail         Text        160                ✓      ✓
                       address, Last name, First
                       name)
TO                     Recipient (i.e. : e-mail      Text-     Unlimited            ✓      ✓
                       address, Last name, First     semicolon
                       name)                         delimited
cc                     Carbon Copy Recipients        Text-     Unlimited            ✓      ✓
                       (i.e.: e-mail address, Last   semicolon
                       name, First name)             delimited
BCC                    Blind Carbon Copy             Text-     Unlimited            ✓      ✓
                       Recipients (i.e. : e-mail     semicolon
                       address, Last name, First     delimited
                       name)
SUBJECT                Subject line of email         Text        Unlimited          ✓
TITLE                  Document Title                Text        Unlimited                 ✓
CONVINDEX              E-mail system ID used to      Text        Unlimited          ✓
                       track replies, forwards,
                       etc.


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             Specifications for Production of ESI and Digitized ("Scanned") Images
                                  ("Production Specifications")

Field name             Field Description         Field      Field        Hard       E-       Other
                                                 Type       Value        Copy       mail     ESI
DOCDATE               Last Modified Date for     Date       MM/DD/                  ✓        ✓
                      files and Sent date for e-            yyyy
                      mail, this field inherits
                      the date for attachments
                      from their parent. Do
                      not provide 00/00/0000.
TEXT FILEPATH         Relative file path of the  Text       Unlimited   ✓           ✓        ✓
                      text file associated with
                      either the extracted text
                      or the OCR
DATE TIME SENT        Date and time Sent (USE Date and      MM/DD/                  ✓
                      TIMEZONE OF                Time       yyyy
                      COLLECTIO                             HH:MM:S
                      LOCALITY)                             s
                      Numbers must be
                      populated. If date is                                          '   .

                      unknown, leave blank.
                      Do not provide
                      00/00/0000
DATE TIME CRTD        Date Created (USE          Date and   MM/DD/                  ✓        ✓
                      TIMEZONE OF                Time       yyyy
                      COLLECTIO                             HH:MM:S
                      LOCALITY)                             s                   -
                      Numbers must be
                      populated. If date is
                      unknown, leave blank.
                      Do not provide
                      00/00/0000
DATE TIME SYD         Date Saved (USE TIME Date and         MM/DD/                  ✓        ✓
                      ZONE OF                    Time       yyyy
                      COLLECTIO                             HH:MM:S
                      LOCALITY)                             s
                      Numbers must be
                      populated. If date is
                      unknown, leave blank.
                      Do not provide
                      00/00/0000




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             Specifications for Production of ESI and Digitized ("scanned") Images
                                  ("Production         fications")




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                                                                                   ａ
                                                                                   ｒ
                       Field DescriptiOn                         Field                         Other
Field name




                                                                                          ａ
                                                                                   Ｃ


                                                                                   ｙ
                                                                                   ｏ
                                                                                   ｐ
                                                                 Value                         ESI
                                                                  トL/DD/
                                                                 ヽイ                    y       /
DATE TIⅣ IE Ⅳ10D       Date Last Modifled            Date and
                        (USE TIME ZONE OF            Time        YYYY
                        COLLECTION                               HttI:NIM:S
                       LOCALITY)                                 S
                       Numbers inust be
                        pOpulated.If date is
                        unknown,leave blank.
                        Do not provide
                        00/00/0000
                                                     Date and    ヽ0/VDD/                y
DATE TIⅣ 凪 RCVD         Date Received(USE
                        TIⅣ IE   ZONE OF             Time        YYYY
                        COLLECTION                               I―   IH:ⅣOνI:S
                        LOCALITY)                                S
                        Numbers rnust be
                        pOpulated.If date is
                        unknottn,leave blank.
                        Do not provide
                        00/00/0000
                                                                 MP1/DD/                y      y
DATE   TIⅣ E ACCD       Date Accessed(USE            Date and
                        TIME ZONE OF                 Time        YYYY
                        COLLECT10N                               I‐ II‐   I:MM:S
                        LOCALITY)                                    S
                        Numbers llnust be
                        pOpulated.If date is
                        uttown,leave blank.
                        Do not provide
                        00/00/0000
TIⅣE ZONE               Time zone of collection       Decimal        10                 /
OFFSET                  locality, relative to
                        Coordinated Universal
                        Time (UTC). E.g., for
                        US Central Standard
                        Time (CST), the value
                        for this field should be -
                         6.0
                         Native File Size in KBs      Decimal         10                        √
FILE SIZE
                         File name - name of file     Text            Unlinlited                   √
 FILE NAME
                         as it appeared in its
                         orisinal location
                                                      Text            160                  /       √
 APPLICAT10N             Application used to
                         create native file (e.g.
                         Excel, Outlook, Wr4!)



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                  t   o                                                             (" s ca n n ed " ) rm   a ge s
                          ""'           "




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                                                                     ｉ
                                                                     ︲
                                                                     ｄ
    Field name




                                                                     ｅ ｙ
                                        Field Description                      Field              Hard           E―          Other




                                                                       ｐ
                                                                       ｅ
                                                                               Value              copy           Inail       ESI
    FILE EXTENS10N                      Extension for the file      Text        10                               /           /
                                        (e.g. .doc, .pdf,, .wpd)
    FILEPATH                            Data's original source      Text       UnliFnitCd                        /           /
                                     full folder path
 NATIVE LINK                         Relative file path             Text       Unlimited                         /           /
                                     location to the native file
 FOLDER ID                           Complete E-mail folder         Text       Unlirnited         /              /
                                    path (e.g. Inbox\Active)
                                    or Hard Copy container
                                    information (e.g. folder
                                    or binder name)
HASH VALUE                          Identifying value of an         Text       Unlimited                        √            /
                                    electronic record that is
                                    used for deduplication
                                      during processing. MD5
                                      or SIIAI hash algorithms
                                      may be used, but must be
                                      kept consistent
                                     throughout all
                                     productions and
                                     communicated to
                                     Government.
ⅣIESSAGEHEADER                       E-mailheader. Can             Text       Unlimited                       √
                                     contain IP address
ATTACI‐ Il■ lCOuNT                   Number of attachments         Text       10                             /
                                     (any level child
                                     document) associated
                                    with a ParentlD
FILE TYPE                           Description that               Text       160                            /           /
                                    represents the file type to
                                    the Windows Operating
                                    System. E.g., Adobe
                                    Portable Document
                                    Format, Microsoft Word
                                    97 -2003, or Microsoft
                                   Office Word Open XML
                                   Format.
HAS HIDDEN                         Identifies whether the          Text      YesA{o                         /            /
CONTENT                            document has comments,
                                   track changes or other
                                   hidden content
                                   associated with it



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               Specifications for Production of ESI and Digitized ("Scanned") Images
                                    ("Production Specifications")

Field name                   Field Description           Field        Field         Hard    E-      Other
                                                         Type         Value         Copy    mail    ESI
MESSAGE TYPE                 Exchange Message class      Text         60                    ✓
                             or equivalent
EXTENDED                     For PDFs Only               Text         Unlimited             ✓       ✓
PROPERTIES
HAS REDACTIONS               Identifies whether a        Text         Yes     0     ✓       ✓       ✓
                             record has been
                             produced with
                             redactions; should be
                             populated with Y for
                             records with redactions
                             and N for records
                             without redactions.

            4.    Search, De-Duplication, Near-Duplicate Identification, Technology Assisted
            Review, E-mail Conversation Threading and Other Culling Procedures
               a. De-duplication of exact hash copies shall be performed globally - across all
                  custodians. The custodian of each record shall be populated in the
                  DupeCustodian field.
               b. All files found on the National Institute of Standards and Technology (NIST) list,
                  commonly referred to as de ISTing, should be excluded from delivery to the
                  Government. All available metadata from files withheld from delivery due to the
                  deNISTing process will be available upon request.
               c. All files should be globally de-duplicated with the following conditions:

                  1.     The "DupeCustodian" metadata field (listing of all custodians who had the
                         document before de-duplication) must be provided with the document
                         production.
                  11.    The "DupeCustodian File Path" metadata field (listing all the file locations of
                         the document before de-duplication) must be provided with the document
                         production.
                  iii.   All files and metadata for the duplicate documents removed during de­
                         duplication must be preserved and available for production upon request.
                  iv.    No customization of hashing may occur without prior express approval by the
                         Government.
                  v.     De-duplication must be done by document family, not by individual
                         document.
                  vi.    A detailed description of the steps taken to de-duplicate (including the process
                         of obtaining hash values) must be provided to the Government. For every
                         production after the first, a separate Unified Custodian overlay shall be
                         provided. If no overlay is necessary due to the fact that no documents de­
                         duped out in connection with previously produced documents, this shall be




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                              expressly stated in the cover letter accompanying
                                                                                the subsequent
                              production(s).

                    d. The recipient shail not use any other procedure to cuil, filter, group, separate
                                                                                                           or
                          de-duplicate, or near-dedupricate, etc.
                                                                  1i.e., reduce the vorume'of) r"rporrir.
                          material before discussing with and obtaining the
                                                                               written approval of the
                          govemment' All objective coding (e.g., neaiduplicate
                                                                                     ID oi e-mail thread lD)
                          shall be discussed and produced to the gor.*1n"rt
                                                                                 as additional metadata fields.
                          The recipient will not employ analytic s=oftware
                                                                             or technology to search, identifu,
                          or review potentially responsive material, including
                                                                                  but not limited to. techaology
                          assisred review or predictive coding, without n..t jis.rssi;g
                                                                                          *,rh;;     gJJ"_..rt.
               5.         Hidden Text
              All hidden text (e'g'.hack     changes, hidden columns, mark-ups, notes)
                                                                                       shall be expanded
              and rendered in the image      file. For files that     u. .*pulo"d the native files shall be
              produced with the image file.                      "u*oi
              6.         Embedded Files
              All non-graphic embedded objects (word documents, Excel
                                                                               spreadsheets, .wav files, etc.)
              that are found within a file shall be extracted and produced.
                                                                              ro. purposes of production,
              the embedded files shail be treated as attachments
                                                                   to the o.iginur fire, with the
             parent/child relationship preserved.

             7.          Image-Only Files
             AII image-only files      (noa-sea_rchable.pdfs, multi-page TIFFs, Snipping Tool and
             screenshots, etc', as wel,l.as all other images that                                    other
                                                                    coniain texg strall be produced with
             ocR text and metadata/database fields iJentified in section
                                                                               3 fo, ,,othrr ESI.,,

             8.          Encrypted Files
            Any data (whether individ.ual files or digital containers)
                                                                       that is protected by a password,
            encryption key, digitar rights
                                           -unug"r*t, or other encryption scheme, shail be
            decrypted prior to processing for production.

                   a'    The unencrypted text shall be exhacted and provided
                                                                                 per section 2.d. The
                         unencrypted files shall be used to render images and provided
                                                                                          per sections 2.a and
                         2'b' The unencrypted native file shall be proiuced pursuant to sections
                                                                                                     l0-19.
                   b.   Ifsuch protected data is encountered but unable to u" p.o..rsed,
                                                                                             each file or
                        container shall be reported as an exception in the accompanying
                                                                                            Exception Report
                        (pursuant to section 25) and shall include all available
                                                                                  metadata associated with
                        the data, including custodian information.




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                  Speciflcations for Production of ESI and Digitized(̀̀SCanned")Images
                                          Production        ifications")

            g.         Production of Imaged Hard Copy Records
                imaged hard copy material shall reflect accurate document unitization
                                                                                      including all
            All
            attachmints and coniainer information (to be reflected in the PARENTID,
                                                                                       ATTACHID'
            BEGATTACH, ENDATTACH               ANd   FOLDERID)'

                  a. Unitization in this context refers to identiffing and marking the boundaries
                                                                                                    of
                     documents within the collection, where a document is defined as the
                                                                                              smallest
                     physical fastened unit within a bundle.  (e.g., staples, paperclips, rubber bands,
                     folders, or tabs in a binder).
                  b. The first document in the collection represents the parent document and all other
                     documents will represent the children'
                  c. All imaged hard ctpy documents shall be produced as 300 dpi single-page TIFF       in
                     files, cclTT Group iV (ZO Compression). All documents shall be produced
                     black and white TIFF format unless the image      requires color.  An  image requires
                     color when color in the document adds emphasis to information in the document
                     or is itself information that would not be readily apparent on the face of a black
                     and white image. Images identified as requiring color shall be
                                                                                         produced as color
                      300 dpi single-Page JPEG files.
                  d. All objective .oOing (e.g., document date or document author) should be
                      discusied and could be produced to the government as additional
                      metadata/database fields should they be deemed as necessary.

            10.        Production of Spreadsheets and Presentation Files
                                                                                       produced in the
            All    spreadsheet and presentation hles (e.g. Excel, PowerPoint) shall be
                                                                                             format), with
            ,,npro.ess"d..as kepi in the ordinury .orite of business" state (i.e., in native
                                                                                   numbet-   See section
            an associated placeirolder image and endorsed with a unique Bates
                                                                                        custodian,
            20 below. fni nte produced should maintain the integrity of all source,
            application, embedded and related file system metadata'

             11.       Production of E-mail Repositories
                                                                                       Lotus NSF), can
             E-mail repositories, also known as e-mail databases (e.g., Outlook PST,
                                                                                   tasks, etc' E-mail
             contain a variety of items, including: messages, calendars, contacts,
             database systems should not be produced without consultation
                                                                             with and written consent
             of the government about the format for the production of   such databases'


             12.                                                       E-mail Repositories but Found
                     Production of Items Originally Generated ino'stand-alone"
                                                                                      Items
             and collected outside of E-mail Repositories, i.e.,
                                                                                 tasks, notes, etc') found
             Any parent e-mail or other parent items (e'g', calendar, contacts,
             and collected outside of e-mail repositories (e.g., items
                                                                       having extensions-'1s9,.'htm'
                                                                                fields outlined in section
             .mht, etc.), shall be produced with ttre "Loose E-mail" metadata
                                                                            the family (parent/child)
             3, including but not limited to any attachments, maintaining
             relationship.
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                          SpeciflcatiOns fOr Production ofESI and Digitized(
                                                                                   SCanlled'')Images
                                                                    ica■ Ons")

                       13. Production of rnstant Messenger (rM), voicemail Data, Audio Data, video
                       Data, Text Messages, etc.
                   The responding party shall identifii, collect, and produce
                                                                               any and all data which is
                   responsive to the requests which may be stored in audio
                   phone/PDA/Blackberry/smart phone data, tablet data,
                                                                              or rid.o .."oroingr,   ..ti
                                                                           voicemail messagin! data, instant
                   messaging, text messaging, conference call data, video/audio
                                                                                   confe."nrlni1".g.,    coro
                   Meeting, WebEx), and related/similar technologies. However,
                                                                                       such data, logs, metadata
                   or other files related thereto, as well as other less common
                                                                                  but simila. ouiu tip"r, shall be
                   produced after consultation with and written consent
                                                                            of the goverrrment about the format
                   for the production ofsuch data.

                   The expectation of the goverrlment is that all familial
                                                                            relationships for all data will be
                  maintained' Similiarly to email conversations and families,
                                                                                   the expectation is that all
                  messages/texts in a conversation will be provided the
                                                                            same conversation index and
                  groupid data (maintaining the familial reiationship)
                                                                         allowing the government to read the
                  entire conversation in context. Messages should f! proor.."o
                                                                                     to a-lign with the formats
                  Iisted in section 2 and as individual Unicode text files,
                                                                             and attachments should be
                  produced as native files with images and OCR text.

                   14.      Production of Social Media
                  Prior to any production of responsive data from social
                                                                          media (e.g., Twitter, Facebook,
                   Google*, Linkedln, etc.) the producing party shall first
                                                                             discuss with the government the
                  potential export formats before collecting the information,
                                                                                to ensure it is collected and
                  produced in a way that preserves the original metadata.
                                                                            t as a clear chain of custody, and
                  provides as much information as possibG regarding
                                                                       th" ,or.ce a;;;il;;H]i'
                  individual communication.

               Social media platforms offer different functions, forms
                                                                        of content, and capability for
               downloading accounts' Because of these differences, prior
                                                                             to collection of social media
               data, the producing parly must discuss with the gou"*-.nt
                                                                              the available export and
              production methods and formats that the produJing party
                                                                          is considering. Unless the
              goYernment agrees to an alternative in writing, regardless
                                                                           of the social-media platform,
              productions of social media content must meet thJ
                                                                   following general requirements: ( I
              separate (2) searchable (3) static images of (4) each                                      )
                                                                    ."rporrir". posting on the social
              media platform, (5) all related content (e.g., comments, Iikes,
                                                                                share or re-transmittal
              information, images, videos, linked documents and content),
                                                                               and (6) associated metadata
              (e'g', user name(s), date, and time of all posts, comments,
                                                                          likes, share or re-transmittals).

              These general requirements are in addition to any more specific
                                                                                  requirements in a
              particular request (e.g., geolocation data), and thl producing party
                                                                                     must ask the
              government about any perceived conflict between these requirements
                                                                                        and another sorrce
              of specifications or requirements. If available from the soclal media platform
                                                                                                or through
              social media data processing software, files that facilitate interactive
                                                                                       review of the data
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                      specifications for Production of ESI and Digitized ("scanned") Images
                                           ("Production Specifications")

                (i.e.,html ilcs)aS Well as load iles in.csv follllat must bc produced with the associated
                content.


                15。     ProductiOn of Structured Data
                Prior to any production ofrespons市 c data from a structured database(e.g.,Oracle,SAP,
                SQL,MySQL,QuickB00ks,proprietary timekeeping,accounting,sales rep cali notes,
                CRMs,SharePoint,ctc.),the producing parサ shan irst identitt the databasc type and
                                                                                    7hOIC or part)and any user
                version number,discuss providing the database dictionary(in■
                manuals,or any other documentation describing the stucture and/or content ofthe
                database and a list of all reports that can be generated frorn the databasc. Upon

                                                                             ⇒お
                consultation、 vith and written consent ofthe govemment,the standard fonnat of all
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                         :I品∬λ
                  ∬潔il∬ 蹴鼈
                ∬載″          WttedVdu∝
                                 thoroughサ                                 eXplained to the govemment
                before production.

                16。     Production of Photographs vvith Native File or Digitized ESI

                Photographs shall be produced as single‐ page JPEG flles、 vith a rcsolution equivalent to
                the original llnage as they were captured/created. プヘH JPI〕 G fllcs shan have extracted
                metadata/database flelds provided in a Concordance0 1oad flle follllat aS Outlincd in
                section 3 for̀̀Other ESI.''

                17.     Production oflmages from which TeXt Cannot be OCR Converted
                An exception report shall be providcdヽ 〃hcn lilnitations ofpaper digitization
                sohare/hardware or attribute conversion do not a1lo、 v for()CR text conversion of
                certain images.The report shallinclude the DOCID or Bates number(s)COrreSpOnding to
                cach such image.

                 18.    Production of ESI from Non‐ PC or Non― Windows… based Systelns
                lfresponsive ESI is in non‐ PC Or non… Windows― based       Systems(e.g.,Apple,IBM
                mainframes,and lNIX machincs,Android device,ctc.),the ESI shall be produccd aner
                discussion with and、 vritten consent ofthe govemment aboutthe format for the
                production of such data.

                 19,       Production of Nat市 e Files(WheII Applicable Pursuant to These
                 Speciflcations)


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June 2019

                  Specifications for Production of ESI and Digitized ("Scanned") Images
                                       ("Production Specifications")

            ESI shall be produced in a manner which is functionally usable by the government. The
            following are examples:

                  a. AutoCAD data, e.g., DWG and DXF files, shall be processed/converted and
                     produced as single-page JPG image files and accompanied by a Concordance®
                     Image formatted load file as described above. The native files shall be placed in a
                     separate folder on the production media and linked by a hyperlink within the text
                     load file.
                  b. GIS data shall be produced in its native format and be accompanied by a viewer
                     such that the mapping or other data can be reviewed in a manner that does not
                     detract from its ability to be reasonably understood.
                  c. Audio and video recordings shall be produced in native format and be
                     accompanied by a viewer if such recordings do not play in a generic application
                     (e.g., Windows Media Player).

            20.      Bates Number Convention
            All images should be assigned Bates numbers before production to the government. Each
            Bates number shall be a standard length, include leading zeros in the number, and be
            unique for each produced page. The numbers should be endorsed on the actual images at
            a location that does not obliterate, conceal, or interfere with any information from the
            source document. Native files should be assigned a single Bates number for the entire
            file which will represent the native document in the Opticon/ Concordance® Image Cross
            Reference file. The load file will include a reference to the native file path and utilize the
            NATIVELINK metadata field). The Bates number shall not exceed 30 characters in
            length and shall include leading zeros in the numeric portion. The Bates number shall be
            a unique number given sequentially (i.e. page one of document is PREFIX000000000l,
            page two of the same document is PREFIX0000000002) to each page (when assigned to
            an image) or to each document (when assigned to a native file). If the parties agree to a
            rolling production, the numbering convention shall remain consistent throughout the
            entire production. There shall be no spaces between the prefix and numeric value. If
            suffixes are required, please use "dot notation." Below is a sample of dot notation:

                                  Document #1                          Document #2
            Page #1               PREFIX0000000000 1                   PREFIX00000000002
            Page #2               PREFIX0000000000l .002               PREFIX00000000002.002
            Page #3               PREFIX0000000000 1.003               PREFIX00000000002.003

            21.      Media Formats for Storage and Delivery of Production Data
            Electronic documents and data shall be delivered on any of the following media:

                  a. CD-ROMs and/or DVD-R (+/-) formatted to ISO/IEC 13346 and Universal Disk
                     Format 1.02 specifications; Blu-ray.
                  b. External hard drives (USB 3.0 or higher, formatted to TFS format
                     specifications) or flash drives.


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                       specifications for Production of ESI and Digitized ("scanned") Images
                                              Production Specifi cations")

                       c.   Storage media used to deliver ESI shall be appropriate to the size of the data in
                            the production.
                       d.   Media should be labeled with the case name, production date, Bates range, and
                            producing party.

                 22.        Virus Protection and security for Delivery of Production Data
                 Production data shall be free of computer viruses. Any files found to include a virus shall
                 be quarantined by the producing party and noted in a log to be provided to the
                 government. Password protected or encrypted files or media shall be provided with
                 -orresponding
                                passwords and specific decryption instructions. All encryption software
                 shall be used with approval by and with the written consent of the government.

                 Zi.        Compliance and Adherence to Generally Accepted Technical Standards
                 Production shall be in conformance with standards and practices established by the
                 National Institute of Standards and Technology ("NIST" at www.nist.gov), U.S. National
                 Archives & Records Administration ("NARA" at www.archives.gov), American Records
                 Management Association ("ARMA International" at www.arma.org), American National
                 Standards Institute ("ANSI" at www.ansi.org), International Organization for
                 Standardization ("lSO" at www.iso.org), and/or other U.S. Government or professional
                 organizations.

                 24.        Read Me Text File
                 All deliverables shall include a "read me" text file at the root directory containing: total
                 number of records, total number of images/pages or files, mapping of fields to plainly
                 identiff field names, types, lengths, and formats. The file shall also indicate the field
                 name to which images *itt U" linked for viewing, date and time format, and confirmation
                 that the number of files in load files matches the number of files produced.

                 25.        Exception RePort
                 An exception report, in .csv format, shall be included. documenting any production
                 anomaliis during the collection, processing, and production phases. The report shall
                 provide all available BEGDOC# or DOCID values and metadata listed in section 3,
                 including but not limited to file names and file paths for all affected files.

                 26.        Transmittal Letter to Accompany Deliverables
                 All deliverables should be accompanied by a transmittal letter including      the production
                 date, case name and number, producing party name, and Bates range produced.
                 Technical instructions on how to decrypt media should be included in the transmittal
                 letter but the password should be transmitted separately.


                                                           -XXX-




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                         EXHIBIT 3
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                           In The Matter Of:

Civil Investigative Demand EDWA 21-004 & 21-005




                            Deposition of
                            Dave Huntoon
                            April 21, 2021
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   ·1· · · · · · · UNITED STATES ATTORNEY'S OFFICE FOR THE

   ·2· · · · · · · · · ·EASTERN DISTRICT OF WASHINGTON
   · · · · · · · · · · · · · ·Spokane, WA· 99201
   ·3

   ·4

   ·5·   ·In re:· · · · · · · · · · · · · · · · · · ·)· NO. ________
   · ·   · · · · · · · · · · · · · · · · · · · · · · )· CONFIDENTIAL
   ·6·   ·CIVIL INVESTIGATIVE DEMAND EDWA 21-005· · ·)
   · ·   · · · · · · · · · · · · · · · · · · · · · · )· Re:
   ·7·   ·and· · · · · · · · · · · · · · · · · · · · )· SCHEDULED
   · ·   · · · · · · · · · · · · · · · · · · · · · · )· DEPOSITION OF
   ·8·   ·CIVIL INVESTIGATIVE DEMAND EDWA 21-004· · ·)· ELYSSA YOUNG
   · ·   ·__________________________________________________________
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   11· · · · · · · DEPOSITION OF SPECIAL AGENT DAVE HUNTOON

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   13· ·Deposition upon oral examination of Special Agent

   14· ·Dave Huntoon taken at the request of the US Attorney's

   15· ·Office, before Danelle Bungen, CSR, at the office of the

   16· ·US Attorney, 920 W. Riverside, GSA Conference Room,

   17· ·Spokane, Washington, commencing at 9:24 A.M. on April 21,

   18· ·2021, pursuant to the Federal Rules of Civil Procedure.

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  Civil Investigative Demand EDWA 21-004 & 21-005                     Dave Huntoon 04/21/2021



   ·1· ·APPEARANCES:

   ·2· ·FOR THE US ATTORNEY'S OFFICE:

   ·3·   ·   ·   ·   ·   ·   ·   US ATTORNEY'S OFFICE
   · ·   ·   ·   ·   ·   ·   ·   Attorneys at Law
   ·4·   ·   ·   ·   ·   ·   ·   920 W. Riverside - Suite 300
   · ·   ·   ·   ·   ·   ·   ·   Spokane, Washington· 99201
   ·5·   ·   ·   ·   ·   ·   ·   BY:· DAN FRUCHTER, ESQ.
   · ·   ·   ·   ·   ·   ·   ·   · · ·TYLER TORNABENE, ESQ.
   ·6·   ·   ·   ·   ·   ·   ·   · · ·(509) 353-2767

   ·7

   ·8· ·FOR THE SCHEDULED WITNESS ELYSSA Young:

   ·9· · · · · · · No appearance.

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   ·1· · · · · · · · · · · · · I N D E X

   ·2
   · · ·DEPONENT· · · · · · · · · · · · · · · · · · · · PAGE
   ·3· ·____________________________________________________

   ·4
   · · ·SPECIAL AGENT DAVE HUNTOON
   ·5
   · · ·Examination by Mr. Fruchter· · · · · · · · · · · ·5
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   ·1· · · · · · · · · · · E X H I B I T S

   ·2
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   ·4
   · ·   ·1· · ·Civil Investigative Demand EDWA 21-005· · ·7
   ·5
   · ·   ·2· · ·Civil Investigative Demand EDWA 21-004· · ·7
   ·6
   · ·   ·3· · ·Letter dated 5/20/2020, Dawn Avery to· · · 8
   ·7·   · · · ·Ms. Davis

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   ·1· · · · · · · · · · · SPECIAL AGENT DAVE HUNTOON
   ·2· · · · was called as a witness by the US Attorney's Office,
   ·3· · · · and having been first duly sworn, was examined and
   ·4· · · · testified as follows:
   ·5
   ·6· · · · · · · · · · · · · · ·EXAMINATION
   ·7· ·BY MR. FRUCHTER:
   ·8· ·Q.· ·Good morning, sir.· Would you please state your name
   ·9· · · · for the record?
   10· ·A.· ·David Huntoon.
   11· ·Q.· ·And by whom are you employed, Mr. Huntoon?
   12· ·A.· ·I'm a Special Agent with the VA Office of Inspector
   13· · · · General.
   14· ·Q.· ·And for how long have you been a special agent with
   15· · · · the VA's Office of Inspector General?
   16· ·A.· ·At least three to four years.· I'd have to check.
   17· ·Q.· ·And Special Agent Huntoon, would you just briefly
   18· · · · describe your job responsibilities as a special agent
   19· · · · with the VA's Office of Inspector General?
   20· ·A.· ·So I'm a criminal investigator that would look into
   21· · · · any matters related to VA programs or operations that
   22· · · · might end in administrative criminal or civil
   23· · · · adjudication.
   24· ·Q.· ·And your job responsibilities include investigating
   25· · · · False Claims Act actions as they relate to VA


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   ·1· · · · programs?
   ·2· ·A.· ·Yes.
   ·3· ·Q.· ·And do part of your job responsibilities include, when
   ·4· · · · necessary, serving subpoenas pursuant to your
   ·5· · · · investigations?
   ·6· ·A.· ·Yes.
   ·7· ·Q.· ·And are you familiar with an investigation involving
   ·8· · · · Elyssa Young?
   ·9· ·A.· ·Yes.
   10· ·Q.· ·And just briefly describe the nature of that
   11· · · · investigation.
   12· ·A.· ·Our office received information that Ms. Young was
   13· · · · involved as a landlord in a Housing and Urban
   14· · · · Development VA- -- I forget the acronym -- -SH,
   15· · · · HUD/VASH program as a landlord capacity, and there was
   16· · · · an allegation that she had broken the rules related to
   17· · · · that program.
   18· ·Q.· ·And VASHA is VA Subsidized Housing?
   19· ·A.· ·Yes.· Thank you.
   20· ·Q.· ·And with regard to the rules that Ms. Young was
   21· · · · alleged to have broken, did those include overcharging
   22· · · · the VA tenants over and above what she was permitted
   23· · · · by law to charge the tenant in rent?
   24· ·A.· ·Yes, that's the basis of the allegation.
   25· ·Q.· ·And when you say she was involved as a landlord, was


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   ·1· · · · that through ownership of a particular company?
   ·2· ·A.· ·Yes.· An LLC known as Sunrhys, S-U-N-R-H-Y-S, LLC, was
   ·3· · · · the entity that owned the property that was involved
   ·4· · · · in the HUD/VASH relationship.
   ·5· ·Q.· ·And was Ms. Young one of the owners and governors of
   ·6· · · · this Sunrhys entity?
   ·7· ·A.· ·Yes; she was an agent.
   ·8· · · · · · · · ·(Exhibit No. 1 - Civil Investigative Demand
   ·9· · · · · · · · ·EDWA 21-005 - marked for identification.)
   10· · · · · · · · ·(Exhibit No. 2 - Civil Investigative Demand
   11· · · · · · · · ·EDWA 21-004 - marked for identification.)
   12· ·Q.· ·(BY MR. FRUCHTER)· And, Special Agent Huntoon, I'm
   13· · · · going to show you what's been marked as Exhibits 1 and
   14· · · · 2.· Take your time and briefly familiarize yourself
   15· · · · with those two exhibits and let me know whether you
   16· · · · recognize them.
   17· ·A.· ·I recognize these as the Civil Investigative Demands
   18· · · · related to this allegation; one addressed to Sunrhys,
   19· · · · LLC, and one addressed to specifically to
   20· · · · Elyssa Young.
   21· ·Q.· ·Okay.· And is it your understanding that these Civil
   22· · · · Investigative Demands were issued by the acting United
   23· · · · States Attorney for the Eastern District of
   24· · · · Washington?
   25· ·A.· ·Yes.


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   ·1· ·Q.· ·And did Exhibits 1 and 2 relate to the investigation
   ·2· · · · that you've described under the False Claims Act
   ·3· · · · concerning Ms. Young's and Sunrhys' participation in
   ·4· · · · the HUD/VASH program?
   ·5· ·A.· ·Yes.
   ·6· ·Q.· ·And did you have the opportunity to affect service of
   ·7· · · · Exhibits 1 and 2 on Ms. Young?
   ·8· ·A.· ·Yes.· On April 14th, 2021, myself and Special Agent
   ·9· · · · Darrell Zorn, D-A-R-R-E-L-L Z-O-R-N, responded --
   10· · · · · · · · ·May I look at that for the address
   11· · · · (indicating)?
   12· · · · · · · · ·-- responded down to --
   13· ·Q.· ·It should be the same --
   14· ·A.· ·-- Walla Walla.
   15· · · · · · · · ·No; the address where we contacted her is on
   16· · · · that letterhead (indicating).
   17· ·Q.· ·This letterhead (indicating).
   18· ·A.· ·My letterhead.
   19· ·Q.· ·Oh, I see.· Yes.· We should probably mark it as
   20· · · · Exhibit 3 if you're going to reference it, but that
   21· · · · is --
   22· ·A.· ·No problem.
   23· · · · · · · · ·MR. FRUCHTER:· Let's just take a moment and
   24· · · · do that.
   25· · · · · · · · ·(Exhibit No. 3 - Letter dated 5/20/2020,


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   ·1· · · · · · · · ·Dawn Avery to Ms. Davis - marked for
   ·2· · · · · · · · ·identification.)
   ·3· ·Q.· ·(BY MR. FRUCHTER)· Special Agent Huntoon, I've just
   ·4· · · · handed you a letter that I think you mentioned.· It's
   ·5· · · · now been marked Exhibit 3.· For the record, it is a
   ·6· · · · letter from Dawn Avery of the Veterans Administration
   ·7· · · · VA Medical Center located in Walla Walla, Washington,
   ·8· · · · to "Alyssa Davis" with an address of 3782 Old Milton
   ·9· · · · Highway, Walla Walla, Washington· 99362.· Do you see
   10· · · · that?
   11· ·A.· ·Yes.
   12· ·Q.· ·And do you recognize Exhibit 3?
   13· ·A.· ·I do.
   14· ·Q.· ·And what is it?
   15· ·A.· ·It's a letter from Dawn Avery, VA employee, addressed
   16· · · · to Ms. Alyssa Davis, addressing the basic allegation
   17· · · · that Mr. Avila had been overcharged by
   18· · · · Ms. Alyssa Davis.
   19· ·Q.· ·And Mr. Avila was Ms. Davis' former tenant, is that
   20· · · · right?
   21· ·A.· ·Yes.
   22· · · · · · · · ·I'm going to have to check my notes on her
   23· · · · name here of "Alyssa Davis" as opposed to
   24· · · · "Elyssa Young."
   25· ·Q.· ·You know her as Elyssa Young?


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   ·1· ·A.· ·Yes.
   ·2· ·Q.· ·You've seen documents that she signed as
   ·3· · · · "Elyssa Young."
   ·4· ·A.· ·Yes.
   ·5· ·Q.· ·And did you have the opportunity to meet Ms. Young?
   ·6· ·A.· ·Yes.
   ·7· ·Q.· ·And was that at this location, 3782 Old Milton
   ·8· · · · Highway --
   ·9· ·A.· ·Correct --
   10· ·Q.· ·-- Walla Walla?
   11· ·A.· ·-- where I provided her these two Civil Investigative
   12· · · · Demand documents.
   13· ·Q.· ·And how do you know that the person with whom you
   14· · · · spoke was Elyssa Young?
   15· ·A.· ·I had previously seen a Seattle Times article
   16· · · · referencing her and her husband, and I can't recall if
   17· · · · I pulled her Washington State driver's license.
   18· · · · Additionally, when I contacted her, she confirmed she
   19· · · · was Elyssa Young when I spoke with her.· And when I
   20· · · · spoke with her father upon initially arriving seeking
   21· · · · Elyssa, her father also confirmed she lived there.
   22· ·Q.· ·All right.· And as part of that discussion that you
   23· · · · had with her, did she -- did Ms. Young also confirm
   24· · · · that she indeed had been a landlord in the HUD/VASH
   25· · · · program with Mr. Avila as a tenant?


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   ·1· ·A.· ·Yes, we discussed that relationship.
   ·2· ·Q.· ·And so did you have the opportunity to personally
   ·3· · · · serve Ms. Young with Exhibits 1 and 2 at that time?
   ·4· ·A.· ·Yes.· At the end of our discussion, I provided her
   ·5· · · · both copies of these.· I advised her that she had
   ·6· · · · 7 days to respond to the US Attorney's office in
   ·7· · · · Spokane, that the AUSA was involved, that their phone
   ·8· · · · numbers were included in the Civil Investigative
   ·9· · · · Demand and that she should call them if she had any
   10· · · · questions, and she indicated she understood.
   11· ·Q.· ·All right.· And did you specifically discuss this
   12· · · · date, April 21st, 2021 as the date upon which
   13· · · · Ms. Young was compelled to appear?
   14· ·A.· ·I don't recall saying April 21st specifically.· I told
   15· · · · her she had 7 days from the moment I was providing her
   16· · · · the documents.
   17· ·Q.· ·All right.· And 7 days from --
   18· ·A.· ·From --
   19· ·Q.· ·-- from April 14th is today, is that correct?
   20· ·A.· ·Yes, sir.
   21· ·Q.· ·All right.· And did you also serve the Civil
   22· · · · Investigative Demand for Sunrhys, Exhibit 2 --
   23· ·A.· ·Yes.
   24· ·Q.· ·-- on Ms. Young at that time?
   25· ·A.· ·At the same time, she confirmed she was an agent,


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   ·1· · · · registered agent of Sunrhys, LLC.
   ·2· ·Q.· ·And did you similarly advise her as to Sunrhys, LLC's
   ·3· · · · obligations to appear on April 21st at the US
   ·4· · · · Attorney's Office in Spokane?
   ·5· ·A.· ·I provided the same guidance for both CID's,
   ·6· · · · indicating that she would have to respond to provide
   ·7· · · · documents and testimony.
   ·8· ·Q.· ·And Exhibits 1 and 2 set forth contact information for
   ·9· · · · the person or persons to be contacted if Ms. Young had
   10· · · · any questions or wanted to change the date; is that
   11· · · · right?
   12· ·A.· ·Yes.
   13· ·Q.· ·And did you go over that information with Ms. Young as
   14· · · · well?
   15· ·A.· ·I advised her that the AUSA's phone numbers were
   16· · · · included in the CID's and she should call them if she
   17· · · · had any questions.
   18· ·Q.· ·Did you provide Ms. Young with your contact
   19· · · · information?
   20· ·A.· ·Yes, I must have because immediately following service
   21· · · · of these CID's, she called me to coordinate me to go
   22· · · · speak with another individual, and she left me a
   23· · · · voicemail.
   24· ·Q.· ·And approximately what time of day were you able to
   25· · · · serve Ms. Young with Exhibits 1 and two?


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   ·1· ·A.· ·It was mid-day, around lunch time.
   ·2· ·Q.· ·And have you been --· You mentioned that she contacted
   ·3· · · · you shortly after that, is that right?
   ·4· ·A.· ·Correct.
   ·5· ·Q.· ·And was that to provide some follow-up information
   ·6· · · · pertaining to the substantive discussion that you had
   ·7· · · · with Ms. Young?
   ·8· ·A.· ·Correct.
   ·9· ·Q.· ·Did -- did you record the discussion that you had with
   10· · · · Ms. Young, by the way?
   11· ·A.· ·Yes.
   12· ·Q.· ·And so have you maintained that recording as part of
   13· · · · your investigative file?
   14· ·A.· ·Yes.
   15· ·Q.· ·And when Ms. Young contacted you shortly after you had
   16· · · · the opportunity to serve Exhibits 1 and 2, did she
   17· · · · raise any concerns at that time about the date, time,
   18· · · · or location of the testimony that was to take place
   19· · · · today?
   20· ·A.· ·No.· The content of that communication was merely
   21· · · · directing me to speak with another individual.
   22· ·Q.· ·And has Ms. Young contacted you since that time?
   23· ·A.· ·No.
   24· ·Q.· ·And to your knowledge, has Ms. Young contacted anyone
   25· · · · in the US Attorney's Office about the date for her


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   ·1· · · · compelled testimony?
   ·2· ·A.· ·To my knowledge, no.
   ·3· ·Q.· ·Nothing further, Special Agent Huntoon.· Thank you
   ·4· · · · very much.
   ·5· ·A.· ·Thank you.
   ·6· · · · · · · · ·(Discussion off the record.)
   ·7· · · · · · · · ·MR. FRUCHTER:· We can waive reading and
   ·8· · · · signing, yeah, and we'll order the transcript.
   ·9· · · · · · · · ·(Deposition concluded at 9:35 A.M.)
   10· · · · · · · · ·(Signature waived.)
   11
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   ·1· · · · · · · · · · · · REPORTER'S CERTIFICATE

   ·2· ·STATE OF WASHINGTON
   · · · · · · · · · · ·ss.
   ·3· ·COUNTY OF SPOKANE

   ·4

   ·5· · · · · · · I, Danelle Bungen, Certified Shorthand Reporter,

   ·6· ·Spokane County, State of Washington, License No. 2760, do

   ·7· ·certify that I reported the taking of the deposition of the

   ·8· ·witness, SPECIAL AGENT DAVE HUNTOON, commencing on

   ·9· ·April 21, 2021 at the hour of 9:24 A.M.; that prior to

   10· ·being examined, the witness was by me duly sworn to testify

   11· ·to the truth and nothing but the truth.

   12· · · · · · · I further certify that the foregoing transcript

   13· ·is a true and correct transcription of my original

   14· ·stenographic notes; that the reading and signing of the

   15· ·deposition by the witness was expressly waived.

   16· · · · · · · I further certify that I am not a relative or

   17· ·employee of any attorney or counsel of any of the parties,

   18· ·nor a relative or employee of any attorney or counsel

   19· ·involved in this action, nor a person financially

   20· ·interested in the action.

   21· · · · · · · IN WITNESS WHEREOF, I have hereunto set my hand

   22· ·this 21st day of April 2021.

   23
   · · · · · · · · · · · · · · · · · · ________________________
   24· · · · · · · · · · · · · · · · · Danelle Bungen, CSR

   25


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                                                                                                             INVOICE
                                                                                              Job No.             Invoice Date      Invoice No.

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                                                                                                                    Case Name

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4/21/2021      2      hrs      Reporting the deposition of Dave Huntoon                                                                     150.00
                      (min)

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               51     pgs      One copy of the exhibits to the above deposition (scanned and e-mailed)                                       17.85

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